                                                                                          Ex. A-10




                 EXHIBIT A-10
 [Available at https://www2.hse.ie/file-library/cervical-screening/interval-cancer-
          report-cervicalcheck.pdf (last checked on November 8, 2021)]

[Although the entire report is attached hereto as Exhibit A-9, relevant excerpts are
                     highlighted for the Court's convenience.]

[Judicial notice may be taken of this report because it is an official publication of a
government agency. See Hawk v. Chao, 418 F.3d 453, 457 (5th Cir. 2005) (judicial
                     notice of agency materials on website).]

 [This report is attached to respond to and rebut arguments made by Plaintiff in its
  response brief. See Perez v. Genesco, No. 09-cv-22, 2010 WL 11602142, at *2
 (W.D. Tex. Jan. 8, 2010) (accepting evidence on reply because it served “to rebut
                         arguments offered [in] Response”).]
               Expert Reference Group Interval Cancer Report CervicalCheck




                                                                             Ex. A-10




Expert Reference Group

Interval Cancer Report
CervicalCheck

October 2020
                            Expert Reference Group Interval Cancer Report CervicalCheck




                                                                                                      Ex. A-10
Contents
Foreword                                                                                              2

Glossary of terms, definitions and abbreviations                                                      4

Section One: Executive Summary                                                                        5

Section Two: Background                                                                              13
 International burden of cervical cancer                                                             13
 Cervical cancer burden in Ireland                                                                   13
 Cervical screening in Ireland                                                                       15
 Limitations of screening                                                                            15
 Interval cancers                                                                                    17
 Establishment of the Expert Reference Group                                                         18
 Guiding Principles for Clinical Audit                                                               19

Section Three: Current Practice in the CervicalCheck Screening Programme                             21
 Quality assurance in the CervicalCheck screening programme                                          21
 Audit of interval cancer                                                                            22
 Open disclosure in CervicalCheck                                                                    22

Section Four: International Practice                                                                 23
 Literature review                                                                                   23
 Survey of international cervical screening programmes                                               25
 Consultations with international cervical screening programmes                                      27

Section Five: Recommendations for the Management of Invasive Cancers in                              39
the CervicalCheck Screened Population
 Consent and information resources in the CervicalCheck screening programme                          39
 Patient-requested reviews of invasive cervical cancers                                              40
 Programmatic review of cytology                                                                     41
 Open disclosure practice                                                                            42
 Implementation planning and operational guidance for clinical audit for invasive cervical cancers   43

References                                                                                           45

Appendices                                                                                           47
 Appendix 1: Terms of Reference                                                                      47
 Appendix 2: International Survey Results                                                            57
 Appendix 3: CervicalCheck Governance Structure                                                      70
 Appendix 4: Summary of Literature Review                                                            71
 Appendix 5a: Letter to Expert Reference Group post RCOG                                             83
 Appendix 5b: Response from Expert Reference Group post RCOG                                         84




                                                        1
                             Expert Reference Group Interval Cancer Report CervicalCheck




                                                                                                            Ex. A-10
Foreword
International data demonstrates that cervical cancer screening saves lives, nevertheless, the inherent
limitations of cervical cytology means that screening will fail to prevent cancer in up to a third of diagnosed
cases. In Ireland, CervicalCheck, the National Screening Programme which began in 2008, has performed
as well, and in some circumstances, better than published data from other countries. Quality assurance,
quality improvement and professional education are essential to maintain optimal performance. As one
element of a broad quality assurance programme, CervicalCheck conducted an audit of cytology in all
women who developed invasive cervical cancer in the first eight years of the programme. Issues arose
in 2018 in relation to inconsistent disclosure of the audit results to patients. The subsequent Scoping
Inquiry into the CervicalCheck Programme, conducted by Dr. Gabriel Scally in 2018, identified areas for
improvement in screening and made a broad range of recommendations which included emphasis on
quality assurance, the importance of audit, open disclosure with patients and improved linkage with the
National Cancer Registry.
The Expert Reference Group on Clinical Audit of Interval Cancers in the CervicalCheck and BowelScreen
Screened Population was established in 2019 to address one element of quality assurance: how best
to conduct audit by clinical experts of interval cancers arising between screening visits. It has been
my privilege to chair the Expert Reference Group, which comprised representatives from professional
disciplines, international expertise and patient and public members. I would like to thank all participants for
the time and energy they devoted to this complex project, especially the patients and public members and
the international experts who either attended or provided detailed input into our deliberations.
We focused on learning from international practice, through reviewing the published literature, conducting
a survey of the approach to audit in well-established programmes and discussions with International
Screening experts. In Ireland, we considered patient and public expectations, HSE policies, the National
Screening Programme’s data, Irish legislation and lessons learned from the Scally report and the Royal
College of Obstetricians and Gynaecologists (UK) Expert Panel Review of Cervical Screening in cases
of cervical cancer in Ireland between 2008-2018. We noted that CervicalCheck was performing within
international parameters. We learned that there is no international consensus or standards on clinical audit
of cytology, some countries do not audit cytology, others audit but do not disclose, some jurisdictions
have legislative protection from disclosure of audit findings, a few countries audit and advise treating
clinicians of the result, and one advises patients directly. Where countries carried out audit of cytology, the
focus was on audit for all cancer patients, not just those with interval cancers. Where cytology audit has
been published internationally, cytology was discordant in 30-55% of cancers.
Our final recommendations have three themes:
1. Individual case reviews may be requested by a patient, including cytology and programme
   performance, based on signed consent, to ensure patients have access to their own information if
   desired. This will be available to any patient who develops an invasive cancer, not just an interval
   cancer.
2. Retrospective programmatic review of cytology in patients with invasive cancers will be conducted
   which will be anonymised and blinded or under an agreed legislative framework, to ensure that the key
   deliverables of quality assurance and professional education are sustained.
3. CervicalCheck will develop a new Programmatic key performance indicator, the annual interval cancer
   rate.




                                                         2
                             Expert Reference Group Interval Cancer Report CervicalCheck




                                                                                                              Ex. A-10
We recognise that our recommendations will offer more comprehensive audit processes than are typically
conducted in other cervical screening programmes. In the absence of established international standards,
we have proposed an approach which is an improvement on current practice and which should help build
patient and public confidence and trust as well as providing the education and training of professional
staff.
Serious concern has arisen recently that the growth in number of legal claims against CervicalCheck will
affect its viability. The effect of this is two-fold: recruitment and retention of professional staff may worsen
or the costs of litigation may greatly exceed the resources available to sustain the Programme, putting
CervicalCheck at risk of collapse.
The public and patients will learn from reading our report that when cytology is audited knowing that a
patient has cancer, reviewers expect to find a high level of discordance. In this regard CervicalCheck’s
performance is consistent with international data.
Cervical cancer screening not only saves lives in Ireland, it reduces the risk of permanent consequences
of treating an invasive cancer, such as infertility. Sustaining a highly performing programme requires a
balance of all elements including patient trust, staff recruitment and affordability. These issues need to be
addressed honestly and openly if we are to sustain this vital public health programme.


Professor Susan O’Reilly
MB, BCh, BAO, FRCPC, FRCPI.




                                                         3
                           Expert Reference Group Interval Cancer Report CervicalCheck




                                                                                                           Ex. A-10
Glossary of terms, definitions and abbreviations
Term             Definition
ASCUS            Atypical Squamous Cells of Undetermined Significance
ASMR             Age-Standardised Mortality Rate
BCCA             British Columbia Cancer Agency
BC               British Columbia
CIN              Cervical Intraepithelial Neoplasia
CSPL             Cervical Screening Provider Lead
Clinical Audit   As defined by the Health Service Executive (HSE), “Clinical audit is a clinically-led
                 quality improvement process that seeks to improve patient care and outcomes through
                 systematic review of care against explicit criteria, and acting to improve care when
                 standards are not met. The process involves the selection of aspects of the structure,
                 processes and outcomes of care which are then systematically evaluated against
                 explicit criteria. If required, improvements should be implemented at an individual,
                 team or organisation level and then the care re-evaluated to confirm improvements”.
                 (1) It should be noted that the term is also frequently used for generic quality review
                 processes.
False Positive   Samples where the test is reported as abnormal but the disease is not present.
False            Samples where the test is originally reported as negative but on review abnormal cells
Negative         are found.
GDPR             General Data Protection Regulation
GP               General Practitioner
HSE              Health Service Executive
HSIL             High Grade Squamous Intraepithelial Lesion
HPV              Human papillomavirus, which can cause cervical and other cancers
IARC             International Agency for Research on Cancer
Interval         A primary cervical cancer diagnosed in a woman after a negative screening test, but
cancer           before the next invitation to screening is due, or within a period equal to a screening
                 interval for a woman who has reached the upper age limit to attend screening.
KPI              A key performance indicator (KPI) within CervicalCheck is a predefined parameter by
                 which the performance of a cervical screening programme is assessed.
LSIL             Low-Grade Squamous Intraepithelial Lesion
MoU              Memorandum of Understanding
NCRI             National Cancer Registry Ireland
NHS              National Health Service (Britain)
PEU              Programme Evaluation Unit
PICO             Populations, Interventions, Comparators, Outcomes
PHE              Public Health England
PHW              Public Health Wales
RCOG             Royal College of Obstetricians and Gynaecologists (UK)
Smear test       Examination by professionally trained laboratory staff (cytologists) of a sample of cells
                 taken from the woman’s cervix by a health professional. This is currently referred to as a
                 cervical cytology test.
SOP              Standard Operating Procedure
SQAS             Screening Quality Assurance Service
TOR              Terms of Reference
UK               United Kingdom


                                                       4
                             Expert Reference Group Interval Cancer Report CervicalCheck




                                                                                                            Ex. A-10


Section One:
Executive Summary
Cervical cancer in Ireland
•   Cervical cancer is the eighth most common cancer in Ireland. Each year, more than 260 women are
    diagnosed with cervical cancer and almost 90 women die of cervical cancer. Almost half of women
    diagnosed with cervical cancer are aged 45 years or under.
•   Cervical cancer is a worldwide problem principally caused by persistent, high-risk human
    papillomavirus (HPV) infections which cause changes to the cervical cells. If the virus persists in a
    woman’s cervix (neck of uterus), chronic inflammatory changes in the cells lining the cervix may lead
    to precancerous changes, known as cervical intraepithelial neoplasia (CIN), and may, with time (often
    years), go on to develop into cancer. Fortunately, early changes in these cells can be detected through
    screening and lead to investigation and treatment in order to prevent more serious disease.




Screening for cervical cancer
•   The first cervical screening (smear test) was developed in the 1940s and has been available as a
    screening test since the 1960s.(2) Many international cervical cancer screening programmes employ
    repetitive cytology testing offered to the entire population of healthy women in a specific age group
    (previously 25–60 years in Ireland). HPV testing is now increasingly used for primary cervical cancer
    screening in conjunction with smear (cytology) tests for HPV-positive cases.(3) Both the smear test and
    the HPV test are simple, safe, affordable tests which are easy to administer and acceptable to women.
•   The smear (cytology) test is not designed to diagnose cervical cancer. The primary purpose of cervical
    cancer screening is detection of precancerous changes and prevention of cancers, but it also permits
    the early detection of a cancer when it is most likely to be treatable and curable. The goal of a cervical
    screening programme is to reduce the incidence of and mortality from, cervical cancer in an overall
    population of healthy women at risk.




                                                         5
                             Expert Reference Group Interval Cancer Report CervicalCheck




                                                                                                            Ex. A-10
Interval cancers
•   An interval cervical cancer is defined as “A primary cervical cancer diagnosed in a woman after a
    negative screening test, but before the next invitation to screening is due, or within a period equal to a
    screening interval for a woman who has reached the upper age limit to attend screening”.(4)
•   No screening test is 100% accurate. Some results can be false negatives (i.e. the test result is negative,
    although the disease is actually present) and a small number of results can be false positives (i.e.
    the screening test says the result is positive, but no clinically significant disease is found on further
    testing). False negatives cause a delay in diagnosing precancerous changes, which could then
    progress to cervical cancer. False positive results lead to unnecessary investigation, potentially harmful
    consequences, and anxiety.
•   Typically, if 1,000 women are screened, about 20 women will have abnormal cervical cells; about 15
    of these women will have these cells found through smear test screening, and about 5 women will not
    have these cells found through smear test screening and may develop cervical cancer.
•   HPV testing is a more sensitive test than the smear test. For every 1,000 women screened, 20 will have
    precancerous changes; HPV testing will correctly identify 18 of these women, whereas cytology smear
    testing will identify about 15 women, as stated above. CervicalCheck introduced primary HPV testing
    in 2020.




CervicalCheck – The National Cervical Screening Programme
•   CervicalCheck – The National Cervical Screening Programme was established in Ireland in 2008.
    Between 2008 and 2018, more than 3 million cytology tests were carried out in 1.2 million women aged
    25–60 years. Tests were performed in accredited laboratories and detected more than 64,000 high-risk
    precancerous changes and 1,500 cancers. These numbers highlight the benefits of CervicalCheck.
    At the end of the ninth screening year (31 August 2017), the screening programme’s 5 year coverage
    reached 80%.(5)




Quality assurance in CervicalCheck
•   As part of quality assurance, CervicalCheck monitors and publishes a range of key performance
    indicators (KPIs) aligned with the European guidelines for quality assurance in cervical cancer
    screening. (6) One element of quality assurance and professional education relates to the audit of
    cytology following a diagnosis of an invasive cervical cancer. Clinical audit is a clinically-led quality
    improvement process that seeks to improve patient care and outcomes through systematic review
    of care against explicit criteria, and acting to improve care when standards are not met. The process
    involves the selection of aspects of the structure, processes and outcomes of care which are then
    systematically evaluated against explicit criteria. If required, improvements should be implemented at
    an individual, team or organisation level and then the care re-evaluated to confirm improvements.(1)




                                                         6
                            Expert Reference Group Interval Cancer Report CervicalCheck




                                                                                                           Ex. A-10
•   In Ireland, an audit of cytology in all women known to be diagnosed with invasive cervical cancers in
    the first 8 years of the CervicalCheck programme was undertaken. In total, 1,482 cases were reviewed,
    of which 1,296 had participated in CervicalCheck. In 221 cases (15%), the cytology review indicated
    discordance with a previous smear test (of note, these 221 cases comprised approximately 1 in 5,400
    women who participated in screening). In 2018, publicity surrounding this audit resulted in the Minister
    for Health commissioning a Scoping Inquiry into the CervicalCheck Screening Programme, which
    was conducted by Dr Gabriel Scally and published in September 2018.(7) The recommendations of Dr
    Scally’s report are now being implemented.




Open disclosure
•   The Health Service Executive (HSE) Open Disclosure Policy has been available since 2013. The
    Expert Reference Group endorses its use in circumstances where patient safety incidents arise
    (clinical incidents or harms) which are “unintended or unanticipated”.(8) Retrospective audit of cytology
    is expected to show discordance in between 30% and 55% of slides from women diagnosed with
    invasive cervical cancer, based on international evidence. Therefore, discordant cytology alone does
    not constitute an “unintended or unanticipated” incident.
•   The HSE National Quality Improvement team made an interim revision to the HSE Open Disclosure
    Policy on 12 June 2019, which replaced the HSE Open Disclosure Policy dated 8 October 2013.(9)
    The interim policy states that it “will be subject to further review following: (i) the development and
    publication of operational guidance for clinical audit of interval cancers in screening services by
    the Expert Working Group on the Clinical Audit of Interval Cancer in the CervicalCheck Screened
    Population. This guidance will set out the principles and processes for how audit and individual case
    review should be undertaken following a diagnosis of interval cancer in the screened population and
    (ii) the commencement of provisions for mandatory open disclosure in the forthcoming Patient Safety
    Bill”.(9)




Expert Reference Group
•   In 2019, the HSE established two Expert Reference Groups: one for BreastCheck and one for both
    CervicalCheck and BowelScreen. These groups were asked to “define the future audit processes and
    review guidance for interval cancers in the National Screening Service based on international evidence
    and best practice” (Appendix 1).
•   The Expert Reference Group has recognised the rationale to report and monitor all interval and screen-
    detected cancers. The recommendations in this report focus on the following requirements:
    1) The obligation to patients to provide access to all of the information related to their care, including
       a review of their screening history and cytology communicated in a supportive and open way, once
       a patient wishes to have this information and provides consent.
    2) The requirement to conduct educational exercises as a key element of both the quality assurance
       of the programme, and of professional education and development in a manner that supports
       recruitment, retention and knowledge development in professional staff.




                                                        7
                             Expert Reference Group Interval Cancer Report CervicalCheck




                                                                                                            Ex. A-10
    3) The necessity to develop a new KPI for the programme– the annual rate of interval cancer – and
       compare it with other international programmes.
    4) The requirement for the programme to be affordable within the challenging environment of
       increasing demand for all health services. Cancer screening must be sustainable in order to
       achieve the benefits of reducing the incidence and mortality of cervical cancer in the screened
       population.




International practice
•   Over the course of its work, the Expert Reference Group considered oral presentations and written
    submissions from a range of international experts. A review of peer-reviewed literature was completed
    and an international survey of population-based cervical cancer screening programmes was
    undertaken. The survey questionnaire and its results are detailed in Appendix 2. The summary findings
    of the survey are as follows:
    -   The management of invasive interval cancers varies between international cervical screening
        programmes. Some international programmes do not examine interval cancers at any level.
    -   Of the 17 countries/regions that completed the survey, 11 have an audit process in place for interval
        cancers; the remaining 6 countries/regions do not have an audit process for interval cancers.
        The majority of survey respondents have introduced HPV testing, with only three responding
        programmes relying exclusively on smear tests as of 2019. Although investigation of invasive
        interval cancer has heretofore focused on cytology, this practice is not universal.
    -   The majority of international programmes do not disclose interval cancer audit results to their
        patients, as audits are regarded as educational exercises to improve service quality and staff
        performance. Some of these regions have legislative protection from disclosure in order to foster
        optimal staff participation in quality improvement.
    -   A minority of the international programmes surveyed (three) have adopted a different approach
        to audit and disclosure. In England, Hospital Trusts are expected to directly inform patients of
        clinical audit findings and offer a meeting. The other two jurisdictions, Wales and Norway, notify the
        treating clinicians of the outcome of an audit and recommend that patients be offered a meeting.
    -   Only three of the programmes surveyed calculated the interval cancer rate; thus, an international
        benchmark is not yet available.
•   Similarly, the literature review has shown that there is no international consensus on what constitutes
    best practice for audit and disclosure of audit results of interval cancers in cervical screening
    programmes.
•   Publications of the results of the National Health Service (NHS) Cervical Screening Programme’s audits
    of invasive cervical cancers found discordances in both histology and cytology in previously screened
    women with confirmed diagnoses of cervical cancer.
•   Public Health England (PHE) published its most recent quality assurance audit in October 2019.(10)
    It reported on the 2013–2016 period and demonstrated, in an unblinded audit of cytology, that the
    previously negative findings in patients aged 25–49 who had interval cancers were upgraded in 42% of
    cases. These data are worth emphasising, as they clearly illustrate that since the cytology smear test
    is prone to significant observer variability, it cannot be considered a diagnostic test, nor can it provide
    absolute certainty that it rules out precancerous changes.




                                                         8
                            Expert Reference Group Interval Cancer Report CervicalCheck




                                                                                                           Ex. A-10
•   Two United Kingdom (UK) screening programmes (in England and Wales) provide operational guidance
    on disclosure of audit results. Other international programmes have not published such guidance.
    Our review identified one 2015 study, which preceded Duty of Candour legislation but followed the
    introduction of open disclosure in England. The study found that despite National Cervical Screening
    Programme guidelines, only 53% of all responding clinicians offer review meetings to patients and
    those that did offer meetings did not offer them to all patients.(11) For the 47% of respondents who did
    not offer review meetings, the reasons cited were: lack of awareness of guidelines; time constraints;
    fear of causing distress; and, rarely, fear of litigation. This was consistent with a 2012 study (12) that
    found low rates of disclosure.
•   The difficulty in conducting audits of cervical cytology, or any retrospective review process, is
    that such audits are subject to hindsight bias. This was highlighted in the Scoping Inquiry into the
    CervicalCheck Screening Programme.




Recommendations
Section Five of this report provides an explanation to each of the recommendations and should be read in
conjunction with this summary.


Recommendation 1: Women should continue to be provided with all the information they require in
order to help them make an informed choice to consent to participate in the CervicalCheck programme.
Current informational materials should be revised in order to reinforce the information on the benefits and
limitations of screening. These materials should continue to include explicit information on the occurrence
of interval cancers. They should also include information on how women can request a review of their
case, if desired. Expanded content on data-sharing arrangements between CervicalCheck and the
National Cancer Registry Ireland (NCRI) should be included. The Privacy Notice provided to patients in
relation to their participation in the CervicalCheck Programme may need to be updated to explain what
personal data the HSE will share with the National Cancer Registry Ireland (NCRI) and any other third
parties, including but not limited to the purpose(s) of processing, the legal basis for processing, etc., to
ensure compliance with data protection law.


Recommendation 2: CervicalCheck should establish a process to conduct patient-requested reviews
of all invasive cancers (both interval and screen-detected cancers) and establish a standard operating
procedure (SOP) for this purpose. Patient-requested reviews should only be undertaken following
receipt of written consent from the patient. These reviews should be available to all women diagnosed
with invasive cancers, including historic cases of women who did not participate in any other National
Screening Service or Royal College of Obstetricians and Gynaecologists cytology review processes.
Based on international experience, CervicalCheck should advise that a patient-requested review may take
more than 12 months to complete.




                                                        9
                             Expert Reference Group Interval Cancer Report CervicalCheck




                                                                                                            Ex. A-10
Recommendation 3: The findings of all patient-requested reviews should be fully disclosed, and
arrangements for this will be included in the CervicalCheck SOP. It is further recommended that
the responsibility for disclosure of the review outcome rests with the treating clinician, generally the
colposcopist or oncologist. This disclosure will be conducted in collaboration with the CervicalCheck
programme and the woman’s general practitioner (GP). CervicalCheck must notify the disclosing clinician
of the outcome of the review, and in turn, the disclosing clinician must confirm with CervicalCheck that
disclosure has taken place. Discordance in cytology review is not unexpected or unanticipated. This would
not meet the definition of a patient safety incident. If a serious adverse event is identified, HSE policies
must be followed.


Recommendation 4: The Expert Reference Group recognises the educational value of programmatic
review of cytology of all invasive cancers including interval cancers. The Expert Reference Group therefore
recommends that Clinical Audits be conducted only where either (1) such Clinical Audits are both blinded
and anonymised; or (2) legislation protecting the confidentiality of Clinical Audits is passed by the
Oireachtas. If such Clinical Audits are conducted, CervicalCheck will include the outcomes of such Clinical
Audits in an annual report. The results of the Clinical Audits will be anonymised and/or confidential under
future legislation, and therefore results of the Clinical Audits cannot and will not be disclosed in respect of
individual cases reviewed.


Recommendation 5: The CervicalCheck programme should develop a new KPI, the interval cancer rate.
The programme should liaise with other international screening programmes and the International Agency
for Research on Cancer (IARC), specifically with regard to:
•   Definition of interval cancers
•   Methodology to calculate the interval cancer rate, and
•   Benchmarking for participating programmes.


Recommendation 6: Implementation of the recommendations of the Scally Report should ensure that
communication with NCRI is strengthened to enable a more timely validation of invasive cervical cancers.
This includes consideration of the development of a population screening registry or equivalent in
collaboration with the NCRI. Implementation of the individual health identifier would facilitate this process.


Recommendation 7: The HSE should continue to build and promote understanding, confidence and trust
in CervicalCheck and other screening programmes through public information, engagement and education
for participants, clinicians, and the wider society. Women should be made aware that they may, separately
from any review process, request access to their screening records at any time.


Recommendation 8: The Expert Reference Group recommends that the necessary resources should
be provided to CervicalCheck in order to implement these recommendations. An implementation team
should be established in order to ensure continued implementation of disclosure according to the outlined
recommendations. Processes should be continually monitored in the context of updates to the Patient
Safety Bill 2018, the General Data Protection Regulation (GDPR), tort reform and emerging international
practice.




                                                         10
                            Expert Reference Group Interval Cancer Report CervicalCheck




                                                                                                            Ex. A-10
Implementation of recommendations
The Expert Reference Group recognises that the recommendations in this report present significant
planning and operational challenges for the CervicalCheck Programme. An Implementation Planning
Committee is being established to develop the methodologies and standard operating procedures for
these recommendations. Please refer to Section Five of this report for implementation details.


The challenges to successful implementation must be understood:
•   The CervicalCheck programme has commenced primary HPV testing in 2020. Notwithstanding the
    priority afforded to the project, the logistical challenges posed by the roll-out of this methodology
    are significant; particularly in the context of the Covid-19 pandemic as screening programmes were
    paused following the lockdown and are now gradually reopening.
•   In 2020, concerns have arisen in relation to ongoing growth in legal cases against CervicalCheck.
    The RCOG review concluded that the findings of their cytology review were in line with the patterns of
    discordance reported in audits of English cytology; overall, CervicalCheck was performing well and
    women can have confidence in the programme. Nevertheless, more litigation has arisen subsequent to
    this review. Furthermore, the Supreme Court ruling that a cytologist must have “absolute confidence”
    when reporting that a slide is normal has inadvertently created a misunderstanding that cytology
    reports must be 100% accurate, this is clearly unachievable.
•   The CervicalCheck programme must be supported to continue to provide quality-assured, freely
    accessible public screening to current and future participants in order to reduce incidence and
    mortality from cancer. The balance between respect for the patients’ need to know their information
    in an open and supportive health care environment versus the duty to future participants and staff to
    maintain a viable programme has weighed heavily on our approach to implementation.


Patient-Requested Reviews: The HSE and the National Screening Service must engage with and inform
the public, patients, politicians and media of the benefits and limitations of screening programmes. It
is vital that screening participants appreciate that tests will substantially reduce their risk of developing
cancer, but cannot prevent or diagnose all cancers and that interval cancers will arise in any population
screening programme. A comprehensive communications plan must be developed and implemented prior
to the roll out of Patient-Requested Reviews. The Expert Reference Group recognised that the conduct of
Patient-Requested Reviews could influence legal claims which may potentially compromise retention of
professional staff and costs of providing the Programme. The HSE, Department of Health and Government
must consider putting safeguards in place to ensure sustainability of screening. A legal framework for
screening needs to be explored.


Programmatic Audit of Cytology: The introduction of primary HPV screening this year will reduce
cytology volume by 85% as cytology will only be carried out for women testing positive for HPV.
Programmatic audit should be introduced prospectively for cytology arising in the primary HPV screened
population. The Quality Assurance and professional education will be aligned with the new screening
methodology. The Implementation Planning Committee will develop the Standard Operating Procedures
for an anonymised and blinded review process. The audit processes will commence once resources (staff
and funds) are available and the screening programme has resumed full operation.




                                                        11
                             Expert Reference Group Interval Cancer Report CervicalCheck




                                                                                                             Ex. A-10
Development of an Annual Interval Cancer Rate: This new Key Performance Indicator for CervicalCheck
will be an additional programmatic audit measure, similar to BreastCheck. The parameters defining an
annual Interval Cancer Rate must be agreed with other international screening programmes (and IARC).
A standard rate (or range) must be developed. Data capture from the National Cancer Registry of Ireland
must be developed and implemented and be compliant with data protection regulations. A Memorandum
of Understanding with the NCRI has already been agreed. The Implementation Planning Committee can
commence this project immediately, building on the current links between the National Cancer Registry of
Ireland and NSS.




Conclusion
The Expert Reference Group brought together Irish professionals, patients, public representatives and
international experts in order to evaluate international practices in cervical screening. Clinical audit is one
important element of CervicalCheck’s quality assurance programme. Investing in the recommendations
of this report will address the needs of patients for full review and disclosure of their clinical management.
Professional staff and programme participants will benefit from the focus on quality assurance and
education. The development of a new KPI for the Programme, the interval cancer rate, will improve
international benchmarking of the Programme’s performance.




                                                         12
                            Expert Reference Group Interval Cancer Report CervicalCheck




                                                                                                           Ex. A-10


Section Two:
Background

International burden of cervical cancer
In 2019, the International Agency for Research on Cancer (IARC) reported that the 2018 global cancer
burden was 18.1 million new cases and 9.6 million cancer-related deaths. (13) With regard to cervical cancer
specifically, it is estimated that 570,000 diagnoses are made globally each year, with a reportedly higher
incidence in developing nations.
Data from countries/regions with long-established screening programmes – for instance, Nordic countries
and Western Canada, which have had programmes in place for more than 50 years – have demonstrated a
50–70% reduction in cervical cancer mortality. Long-term decreases in incidence rates for squamous cell
carcinoma in particular correlate to organised screening programmes.(14) In Canada, for example, the age-
adjusted incidence of squamous cell carcinoma of the cervix declined from 11.1 per 100,000 women to 5.3
per 100,000 women between 1970 and 1996.(15)




Cervical cancer burden in Ireland
The National Cancer Registry Ireland’s (NCRI’s) May 2018 report shows that on average, there were
264 new cases of invasive cervical cancer each year between 2015 and 2017, and 88 deaths each year
between 2012 and 2014.(16) Figure 1 shows that there was a significant increase in the incidence of invasive
cervical cancers in the period from 1994 to 2010, which was associated with opportunistic testing and the
introduction of a pilot screening programme. This was followed by a significant (5.3% per year) reduction
from 2010 to 2016, which is attributable to the implementation of population-based screening. This
provides evidence to suggest that CervicalCheck, initiated in late 2008, is already reducing the incidence
of cervical cancer in Ireland.(17) The age-standardised mortality rate for cervical cancer (Figure 2) shows a
trend to reduce mortality. It is important to note that it will take more years of population based cervical
cancer screening to achieve the expected benefits in mortality reduction.
The latest data from the NCRI show that there was a significant reduction (approximately 1% per year) in
the age-standardised mortality rate (ASMR) of cervical cancer in the period from 1994 to 2016.




                                                        13
                             Expert Reference Group Interval Cancer Report CervicalCheck




                                                                                                                                                     Ex. A-10
Figure 1. Trend in age-standardised incidence rate (ASIR) for invasive cervical cancer, 1994–2016


         400                                                                                               18

         350                                                                                               16




                                                                                                                age standardised rates per 100,000
                                                                                                           14
         300
                                                                                                           12
         250
                                                                                                           10
 Cases




         200
                                                                                                           8
         150
                                                                                                           6
         100
                                                                                                           4

          50                                                                                               2

           0                                                                                               0

               1994   1996   1998   2000    2002    2004        2006   2008    2010   2012   2014   2016
                                                       year
                               case          ASIR           fitted 1994-2010, 2010-2016




Figure 2. Trend in age-standardised mortality rate (ASMR) for cervical cancer, 1994–2016


         100                                                                                               6

          90
                                                                                                                age standardised rates per 100,000
          80

          70
                                                                                                           4
          60
 Cases




          50

          40
                                                                                                           2
          30

          20

          10

           0                                                                                               0

               1994   1996   1998   2000    2002    2004        2006   2008    2010   2012   2014   2016
                                                       year
                               case          ASIR           fitted 1994-2016




                                                           14
                            Expert Reference Group Interval Cancer Report CervicalCheck




                                                                                                           Ex. A-10
Cervical screening in Ireland
The Irish Cervical Screening Programme Phase One began operation in the Mid-West in 2000 under
the aegis of the Mid Western Health Board and, more recently, the Health Service Executive (HSE). In
September 2008, CervicalCheck – The National Cervical Screening Programme became the cervical
screening programme used throughout Ireland.(18) CervicalCheck offers free screening to eligible women
aged 25–65 years in Ireland. The screening programme is based in primary care and women’s health
clinics, with more than 4,500 doctors and nurses registered with the programme. CervicalCheck has
memoranda of understanding with 15 quality-assured colposcopy clinics located throughout the country
for provision of services for further management of women who have an abnormal cervical smear at
screening. These practices are based on the model of care agreed between CervicalCheck, the British
Society for Colposcopy and Cervical Pathology and the Royal College of Obstetricians and Gynaecologists
(RCOG).
Women on the Cervical Screening Register (a population register of women eligible to be screened) are
invited to screening at regular intervals between the ages of 25 and 65 years. The Cervical Screening
Register supports CervicalCheck to call and recall women for screening as appropriate. If a woman is
diagnosed with cervical cancer, CervicalCheck is notified by the treating colposcopy clinic, gynaecology/
oncology clinic, or the woman’s general practitioner (GP).
The purpose of cervical screening is to identify women at risk of developing cervical cancer and to
prevent cervical cancer from developing. The aim of CervicalCheck is to reduce the incidence of, and
mortality from, cervical cancer in the screened population. In pursuit of these goals, CervicalCheck sets
an objective to achieve a significant level of coverage of the eligible population. Coverage is defined as the
proportion of unique women who have had at least one satisfactory screening test taken within the defined
screening interval, expressed as a percentage of the total number of eligible women in the population.(19)
Coverage over the 5-year reporting period ending 31 August 2018 was 77.8%, declining from the previous
period ending in 2017, which achieved over 80% coverage. The programme’s goal is 80% coverage over a
5-year period, and 2017 was the first time the programme achieved this target.(5)
During the 10-year period from 2008 to 2018, CervicalCheck carried out almost 3.2 million cervical
screening tests on 1.2 million women and detected more than 64,000 high-grade cervical intraepithelial
neoplasias (CINs), which are precancerous changes in the cervix, as well as more than 1,500 cancers.




Limitations of screening
The overall goal of population-based cervical screening is to reduce the incidence of, and mortality from,
cervical cancer. Cervical cancer screening detects early precancerous changes in the cervix, which can be
treated to prevent cancer from developing. It may also detect invasive cancer when it is most likely to be
treatable and curable. Screening utilises an affordable test which is easy to administer and acceptable to
women who do not have symptoms. It is not a diagnostic test, as it is not specific enough to consistently
detect all early changes in the cervix. International evidence has demonstrated the low sensitivity of
cervical cytology testing as a screening test. Studies indicate false negative rates of up to 55% when
smear tests of women subsequently diagnosed with an interval cervical cancer were reviewed: “In spite
of the excellent quality of cytology in England, a high proportion of negative cytology taken up to three
and a half years before diagnosis were considered to contain abnormal cells by reviewers informed of the
subsequent cancer”.(20)




                                                        15
                                 Expert Reference Group Interval Cancer Report CervicalCheck




                                                                                                                          Ex. A-10
The main limitations of screening are the following:
•   Cervical screening will not prevent all cases of cervical cancer.
•   Some women will still develop cervical cancer despite regular screening.
•   Some abnormal cell changes may be missed.
•   Screening will not detect every abnormal cell change.
As set out on the CervicalCheck “Important information about your free cervical screening” leaflet (21), the
reasons why abnormalities are sometimes missed include the following:
•   Sometimes they do not look much different from normal cells.
•   There may be very few abnormal cells in the sample.
•   The person reading the sample may miss the abnormality (this happens occasionally, no matter how
    experienced the reader is).
The 2001 Bethesda system (a system of classification of cervical cytology abnormalities) requires a
minimum of 5,000 cells for an adequate smear.(22) Cytotechnologists typically report on 40 smears per day
and are expected to report on 5,000–12,000 smears annually in order to maintain competence. Figures 3
and 4 illustrate the subtle nature of these changes and the difficulty of detecting isolated changes in the
midst of thousands of normal cells.


Figure 3. Schematic diagram representing                             Figure 4. Schematic diagram representing
the scatter pattern of normal cells                                  a small focus of abnormal cervical cells
                                                                     (circled)




Source: Courtesy of Dr Ameli Trope, Norwegian Cervical               Figure 4. Schematic diagram representing a small focus
Cancer Screening Programme                                           of abnormal cervical cells (circled)




                                                             16
                              Expert Reference Group Interval Cancer Report CervicalCheck




                                                                                                          Ex. A-10
International evidence shows that if 1,000 women are screened using cytology:
•   About 20 women will have abnormal cervical cells
•   About 15 of these women will have these cells found through screening, and
•   About 5 of these women will not have these cells found through screening and may develop cervical
    cancer.
The evolution from precancerous changes to invasive cancer typically takes at least 10 years. Thus, the
sensitivity of a screening programme increases over time with repetitive rounds of screening. As abnormal
cells missed on one screening test can be found on the next one, it is important for women to attend for
each screening round or repeat test.


Aside from the limitations of screening, negative experiences of screening might include:
•   Potential discomfort, embarrassment, or (less commonly) pain during the screening test
•   Anxiety in waiting for the results, or
•   Side-effects or complications due to treatment after colposcopy.




Interval cancers
An interval cervical cancer is defined as “a primary cervical cancer diagnosed in a woman after a negative
screening test, but before the next invitation to screening is due, or within a period equal to a screening
interval for a woman who has reached the upper age limit to attend screening”.(4)
It is notable that this agreed definition does not include cancers that arise as result of minimal/borderline
abnormalities at the time of screening which do not warrant referral to colposcopy. After a defined
screening interval, a woman will have another screening test which may have a result requiring colposcopy
assessment followed by a diagnosis of cervical cancer. Thus, a cancer which has developed in the interval
between a smear with borderline changes and the next smear test would not meet the strict definition of
interval cancer.
Interval cancers will arise in all cancer screening programmes. Irrespective of quality assurance measures
implemented to ensure the most effective and sensitive screening programme, a proportion of cancers
diagnosed each year will include interval cancers.(23)
For example, in National Health Trusts in England, a review of three years of cervical cancers diagnosed
between 2007 and 2010 reported that the reviewers found that 55% of cytology specimens from all
invasive cancers agreed with the original review (concordant).(24) In the subset of women with negative
cytology (interval cancers), 3,759 slides were reviewed of which only 45% were concordant thus 55% had
a discordant (changed) report: 11% were inadequate samples, 21% had low-grade changes and 23% had
high-grade changes or worse.




                                                          17
                             Expert Reference Group Interval Cancer Report CervicalCheck




                                                                                                               Ex. A-10
Establishment of the Expert Reference Group
As a consequence of the issues that arose in CervicalCheck 2018 which related to the clinical audit of
cytology in patients with invasive cervical cancers, further audit of cancers was paused. In 2019, the HSE
established two Expert Reference Groups: one for BreastCheck and one for both CervicalCheck and
BowelScreen. These groups were asked to “define the future audit processes and review guidance for
interval cancers in the National Screening Service based on international evidence and best practice.”
(Appendix 1)
The Expert Reference Groups and their respective Working Groups considered the current review
practices and the patient information and consent processes, agreed the principles relating to clinical
audits, and conducted two projects to determine international cancer screening practices: an international
literature review and a survey of practices in established national or regional cancer screening
programmes which serve a population equal to or larger than Ireland.
The Expert Reference Group has recognised the rationale to report and monitor all cancers, including
interval and screen-detected cancers. The recommendations in this report focus on the following
requirements:
1. The obligation to patients to provide access to all of the information related to their care, including a
   review of their screening history and cytology communicated in a supportive and open way, once a
   patient wishes to have this information and provides consent.
2. The requirement to conduct educational exercises as a key element of both the quality assurance
   of the programme, and of professional education and development in a manner that supports
   recruitment, retention and knowledge development in professional staff. This helps improve the quality
   of the service provided to women.
3. The necessity to develop a key performance indicator (KPI) for the programme’s interval cancer rate in
   order to benchmark the rate internationally.
4. The programme must be affordable within the challenging environment of demand for all health
   services. Cancer screening must be sustainable in order to achieve the benefits of reducing the
   incidence and mortality of cervical cancer in the screened population.


The specific objectives are to:
1. Consider which individual screening programmes are currently reporting against international best
   practice
2. Determine best internationally accepted processes for reviewing and reporting interval cancers, and
3. Develop, in line with National Standards for Clinical Practice Guidance Development(25), operational
   guidance which sets out the principles and processes for how audits and individual case reviews
   should be undertaken following a diagnosis of interval cancer in the screened population. This
   guideline should:
   3.1. Establish standardised informed consent processes
   3.2. Outline the future method of audit in such situations in Ireland, such that cancer screening
        programmes may be assessed with regard to their operation within agreed standards
   3.3. Outline the future method of individual case review in such situations in Ireland
   3.4. Consider the data protection requirements which will be necessary for the implementation of the
        proposed systems of audit and individual case review




                                                         18
                                  Expert Reference Group Interval Cancer Report CervicalCheck




                                                                                                                        Ex. A-10
    3.5. Take account of current and planned legislation around open disclosure and make
         recommendations regarding disclosure of the results of audit and/or individual case review to
         individual service users
    3.6. Propose recommendations on communication processes and timelines
    3.7. Outline any ethical implications that the proposed systems of audit and individual case review
         may have for patients, the general public, healthcare professionals or the health system, and
    3.8. Outline any organisational implications, including the impact on long-term sustainability that
         the proposed systems of audit and individual case review may have on the National Screening
         Service and its individual screening programmes.
The full terms of reference are included in Appendix 1.




Guiding Principles for Clinical Audit
In accordance with the Clinical Audit of Interval Cancer in the Screened Population Terms of Reference,
the CervicalCheck/BowelScreen Expert Reference Group and its respective Working Groups agreed on
the following principles:
1. Population screening refers to a test that is offered to all individuals in a target group (usually defined
   by age) as part of an organised programme, with the overall aim of prevention or early detection of
   the disease and thereby reducing mortality from the disease in that population. Well-organised and
   systematically conducted screening, with rigorous internal and external quality control, is effective at
   the population level and must continue to be offered to the eligible public in Ireland.
2. In line with the Wilson and Jungner criteria,(26) which state that the cost of case-finding (including
   diagnosis and treatment of diagnosed patients) should be economically balanced in relation to the
   possible expenditure on medical care as a whole, the recommendations of our Expert Reference
   Group should not jeopardise the overall cost-effectiveness of screening programmes.1
3. The purpose of clinical audit in screening programmes is quality assurance and quality improvement
   (professional education and development) in order to provide rigorous internal and external quality
   control.
4. Within each screening programme, an evidence-based definition of an interval cancer must be clearly
   defined.
5. The rate of interval cancers in each screening programme should be determined using a defined
   numerator and denominator.
6. Public and stakeholder information and communications regarding the audit processes must be
   informed by international practice.
7. Public and stakeholder information must clearly state the benefits and limitations of population
   screening programmes.
8. Communications with patients diagnosed with invasive cancers must be respectful and open,
   reflecting the HSE values of care and compassion.




1 Cost-effectiveness analysis (CEA) is defined as an analytical technique intended for the systematic comparative
  evaluation of the overall cost and benefit generated by alternative therapeutic interventions for the management of
  a disease.(WHO Guide to Cost-Effectiveness Analysis, 2003)


                                                                 19
                             Expert Reference Group Interval Cancer Report CervicalCheck




                                                                                                           Ex. A-10
9. Recommendations for future clinical audit of interval cancers should be informed by international
   practice.
10. A standardised, reproducible approach to clinical audit must be established for each screening
    programme.
11. For the purpose of this work, the clinical audit of interval cancers should focus on two different
    circumstances:
   a. Planned programmatic reviews as part of a quality assurance process in order to identify areas of
      improvement, action and implementation, and
   b. Individual case reviews.
12. Acceptable facilities and resources to conduct the clinical audit of interval cancers should be available.




                                                         20
                            Expert Reference Group Interval Cancer Report CervicalCheck




                                                                                                          Ex. A-10


Section Three:
Current Practice in the
Cervicalcheck Screening
Programme

Quality assurance in the CervicalCheck screening programme
The quality assurance requirements and standards for the cervical screening programme are based
on European guidance, as set out in the European guidelines for quality assurance in cervical cancer
screening: Second Edition (6) and the CervicalCheck Guidelines for Quality Assurance in Cervical
Screening: Second Edition.(27) KPI data are reviewed in several levels of detail at a number of forums and
published annually. They are grouped under the principal components of the cervical screening pathway:
programme operation, primary care/smear taking, cytopathology, human papillomavirus (HPV) testing,
colposcopy and histopathology. The process is governed via the National Screening Service Quality
Assurance Committee for Cervical Screening, which reports to the CervicalCheck Senior Management
Team.
Governance structures for Quality Assurance, including oversight of key performance indicators and
audits, are well established within the screening programme. Details can be found in Appendix 3. All
screening programmes report to the Chief Executive Officer of the National Screening Services who is
accountable to the Chief Clinical Officer of the HSE.



Key performance indicators
Three distinct groups of indicators are identified in the CervicalCheck Guidelines for Quality Assurance in
Cervical Screening: Second Edition (27):
1. Screening intensity, which is the proportion of the target population actually screened within the
   recommended interval
2. Screening test performance indicators, which include the referral rates for repeat cytology and
   colposcopy; colposcopy outcomes; and rates of detection of CIN
3. Diagnostic assessment of treatment indicators, which include compliance with referral for repeat
   cytology and for colposcopy. The treatment of high-grade lesions is also an essential KPI.




                                                        21
                           Expert Reference Group Interval Cancer Report CervicalCheck




                                                                                                        Ex. A-10
Audit of interval cancer
Clinical audit is a clinically-led quality improvement process that seeks to improve patient care and
outcomes through systematic review of care against explicit criteria, and acting to improve care when
standards are not met. The process involves the selection of aspects of the structure, processes
and outcomes of care which are then systematically evaluated against explicit criteria. If required,
improvements should be implemented at an individual, team or organisation level and then the care re-
evaluated to confirm improvements.(1) In Ireland, where cervical screening is a relatively new programme,
an audit of cytology in all women known to be diagnosed with invasive cancers in the first 8 years of the
programme (1,482 cases, of which 1,296 had participated in CervicalCheck) was undertaken. In 221 cases,
the cytology review reported discordance with the original smear test report. Results of the changes
in cytology were ultimately communicated in writing to the doctors involved in each patient’s care, but
communication with patients frequently did not occur. These issues came to light in 2018 and caused a
crisis in confidence in the CervicalCheck programme, which has been well documented in the Scoping
Inquiry into the CervicalCheck Screening Programme, conducted by Dr Gabriel Scally and commissioned
by the Minister for Health, and which was published in September 2018.(7) Despite his comment on the
laudable intentions of the audit, Dr Scally’s report found a wide range of issues which needed to be
addressed, including the processes of review. The report was critical of the audit process, particularly of
the fact that the women involved were not informed of this audit and that the HSE Open Disclosure Policy
was generally not followed. This report also highlighted examples of poor communication with the women
affected and their families. The recommendations of Dr Scally’s report are now being implemented,
including disclosure to patients or their next of kin.




Open disclosure in CervicalCheck
CervicalCheck disclosed the outcomes of its audit of invasive cancers in a manner that caused
considerable distress to those affected.(7) The outcomes of the subsequent RCOG review in the United
Kingdom (UK) was published on 3 December 2019.(28) Patients who participated have already been notified
of their results and were offered individual meetings to discuss the findings. These meetings are now in
progress.




                                                       22
                            Expert Reference Group Interval Cancer Report CervicalCheck




                                                                                                            Ex. A-10


Section Four:
International Practice
International evidence was assessed by reviewing the published literature, investigating best practice
from the perspective of international cervical screening experts and conducting a survey of international
cervical screening programmes.




Literature review
Method
A search strategy for English-language articles published up to May 2019 was developed and conducted
in accordance with the Populations, Interventions, Comparators, Outcomes, and Study types (PICO)
approach. The databases Scopus, Google Scholar, CINAHL, Web of Science, Embase, ScienceDirect and
Global Health were searched.
In addition to the peer-reviewed literature, the websites and publications of international cervical screening
programmes were accessed.
The literature review addressed the following questions:
1. What is the approach to the audit of interval cancers in cervical screening programmes?
2. What processes are in place for the audit of interval cancers?
3. What is the approach to disclosure with regard to the outcome of audit of interval cancers in the
   screened population?
A total of 33 documents were deemed relevant for appraisal by the CervicalCheck Working Group. The
Working Group used a specifically adapted version of the MiChe Rapid-Assessment Appraisal Tool (29) to
assess the systematic quality and applicability of all the literature and guidance documents reviewed. This
validated assessment instrument was considered appropriate for use by the Working Group.
More than half of the documents reviewed (n=17) were published in peer-reviewed journals. Policies and
standard operating procedures from international screening programmes which were accessible online
were also reviewed.
Appraisal of the 33 documents was carried out by 14 Working Group members (Appendix 4). Of the 33
documents appraised, 32 were determined to be relevant by the Working Group.




                                                        23
                             Expert Reference Group Interval Cancer Report CervicalCheck




                                                                                                              Ex. A-10
Findings
The literature review identified that there are variable approaches to audit and disclosure of interval
cancers in cervical screening programmes, and therefore no international consensus on what constitutes
best practice.



What is the approach to audit in cervical screening programmes?
The literature review identified various approaches to the elements of the cervical screening process that
are audited. In some studies the focus was on administrative processes, such as attendance, call, and
recall (e.g. Sweden), which provided evidence that the incidence of interval cancer is inversely related to
programme participation rates. Considerable work has been undertaken to audit invasive cervical cancer
in the National Health Service (NHS) England Cervical Screening Programme. Audits covering the time
period from 2007 to 2013, published in two separate reports, reviewed cytology and histology and are
discussed in this section under consultations with international cervical screening programmes. (20, 24)



Approach to audit of interval cancers
There are very few publications with regard to the audit of invasive cancers. All of the research and
publications reviewed were undertaken for the purpose of quality assurance and education. Four
publications reported reviews of cytology of screening participants diagnosed with invasive cervical
cancers.(12, 20, 24, 30)
Publications related to the review of cytology and histopathology as part of the NHS England Cervical
Screening Programme’s audit of invasive cervical cancers found that between April 2007 and March 2010,
6,113 women were diagnosed with cervical cancer. Of 13,745 cytology results from women who developed
cervical cancer, 55% were reviewed.
The findings were concurrent for more than half (55%) of the slides reviewed.(24)
Analysis of 3,759 slides originally considered to be normal (interval cancers) yielded different results on
review, with only 45% being determined as “normal” on review; 55% (n=2,068) were changed for the
following reasons:
•   Eleven per cent were found to have an inadequate sample on the original slide.
•   Twenty-one per cent were found to have low-grade changes not recognised on the original slide.
•   Twenty-three per cent were found to have high-grade changes not recognised on the original slide.
A later paper published by the same team in 2014 found discordances in both the histology and cytology
of 8,784 women who had a confirmed diagnosis of cervical cancer between April 2009 and March 2013.
Almost half (47%) of the cases diagnosed in women aged 25–49 were microinvasive cancers (stage
1A); 36% were stage 1B. However, in women aged 50–64, 49% of cancers were stage 2 or higher.
Concordance between the original result and the review result was 59% for cytology and 90.2% for
histological samples. This shows an improvement in concordance for cytology since the report that was
published in 2012. (24)




                                                         24
                            Expert Reference Group Interval Cancer Report CervicalCheck




                                                                                                          Ex. A-10
After the literature review concluded, Public Health England (PHE) published its most recent quality
assurance audit in October 2019.(10) It reported on the 2013–2016 period and, in an unblinded audit of
cytology, demonstrated that the previously negative findings in patients aged 25–49 who had interval
cancers were upgraded in 42% of cases. These publications on NHS England’s cytology reviews are the
key evidence of the limitations to the smear test’s accuracy.



What is the approach to disclosure with regard to the outcome of audits of
interval cancers in the screened population?
Despite well-documented, longstanding knowledge of false negative and highly discordant findings on
audit of cytology, few publications discuss disclosure.
Two UK screening programmes (England and Wales) provide operational guidance on disclosure. Other
international programmes have not published such guidance.
Our review identified one 2015 study in England which preceded Duty of Candour legislation but followed
the introduction of an open disclosure policy. The study found that despite National Cervical Screening
Programme guidelines, only 53% of all responding clinicians offer review meetings to patients and those
that did offer meetings did not offer them to all patients.(11) For the 47% of respondents who did not offer
review meetings, the reasons cited were: lack of awareness of guidelines; time constraints; fear of causing
distress; and, rarely, fear of litigation. This was consistent with a 2012 study(12) that found low rates of
disclosure.




Survey of international cervical screening programmes
Methodology
A formal survey was undertaken by the Expert Reference Group, the CervicalCheck Working Group
and the Programme Evaluation Unit within the National Screening Service to gather information from
international population-based cervical screening programmes on their processes for the audit and review
of interval cervical cancers.
We contacted well-established international cancer screening programmes across Europe, Canada and
Australia, all of which provide comprehensive access to all eligible members of the public in jurisdictions
with populations similar to or greater than Ireland’s population of 4.8 million, with one exception: we
consulted Northern Ireland (population 1.8 million), as it is the NHS jurisdiction geographically closest
to Ireland. The survey was circulated to 22 screening programmes in May 2019. If no response was
received, the contact was repeated three times. If responders required any clarification about the survey,
the National Screening Service responded to all of their questions. Globally, many countries and regional
jurisdictions do not have comprehensive, publicly funded cancer screening programmes, and thus were
not eligible to participate.




                                                        25
                             Expert Reference Group Interval Cancer Report CervicalCheck




                                                                                                             Ex. A-10
Results
Seventeen countries/regions out of 22 countries invited completed the survey, giving a response rate of
77%. Of the 17 countries/regions that completed the survey, 11 have an audit process in place for interval
cancers; the remaining 6 countries/regions do not have an audit process for interval cancers.



Summary of key points of the international survey
The main findings of the survey are as follows:
•   Seventeen of the 22 countries/regions contacted responded to the survey (77%).
•   Eleven of the 17 responding programmes have an audit process in place for invasive cervical cancers,
    while the remaining 6 countries/regions do not have an audit process.
•   Of the 11 countries/regions that carry out audits, reviewers in 3 countries/regions are not aware of the
    cancer diagnosis, i.e. they are blinded when reviewing the slides of an invasive cancer.
•   All of the screening programmes carrying out audits differed in their approaches.
•   Of the 11 countries/regions that carry out audit of interval cancers, 6 have an open disclosure policy
    for medical incidents. Of these, four countries/regions have a mandatory open disclosure policy for
    medical incidents in place.
•   Of the six countries/regions that have an open disclosure policy for medical incidents, three countries/
    regions have an open disclosure policy that applies to invasive interval cancers in screening.
•   Of the 3 countries/regions that have an open disclosure policy that applies to screening, it was
    confirmed through subsequent interviews with these jurisdictions that one region contacts patients
    directly, while the other two jurisdictions write to the patients’ treating clinicians advising disclosure.
    Since the completion of this survey, a fourth region has signalled intent to implement open disclosure.
•   Three countries/regions have legislation protecting clinical audit from disclosure to patients.
The questionnaire and its results are detailed in Appendix 2.




Conclusion based on the international survey
The respondent countries/regions do not have a consistent approach to audit of invasive interval cancers
or to disclosure. Two countries have adopted an approach of full programmatic review and recommend
disclosure to the patient, while a third country conducts cytology review only and recommends disclosure.
Jurisdictions elsewhere typically do not disclose the results of audits to patients, as the audits are
considered to be quality assurance and educational exercises. In some countries/regions, there is
legislative protection from disclosure of clinical audit results.




                                                         26
                            Expert Reference Group Interval Cancer Report CervicalCheck




                                                                                                           Ex. A-10
Consultations with international cervical screening programmes
In order to further investigate international practices, the Expert Reference Group consulted international
cervical screening experts to discuss their approaches to clinical audit of invasive cancers and disclosure.
These approaches are summarised below.



Norway
•   Norway (population 5.3 million) has had the Norwegian Cervical Cancer Screening Programme in place
    for women aged 25–69 since 1995. The screening interval is every 3 years.
•   Cervical cytology testing is conducted in 15 hospital laboratories and 2 private laboratories.
•   Norway has commenced implementation of primary HPV testing, which is now offered to 30% of
    women attending screening, according to regional roll-out. Primary HPV testing is conducted every 5
    years.
•   1,030,915 women were screened within the last 3 years.
•   The Norwegian laboratories routinely re-screen previous smears when identifying a patient with High
    Grade Squamous Intraepithelial Lesion (HSIL) or Cervical Intraepithelial Neoplasia 2 (CIN2). Since
    smears may have been evaluated at different laboratories (due to the patient moving or changing
    doctors), there was a need for a national audit.
•   National laboratory audit of cervical screening in Norway has been in place since 2013. All laboratories
    conduct their own audits.
•   Audit is done primarily as a quality assurance measure for the programme and to drive improvements
    in the system. Audit is not mandatory, but a protocol and a list of cancer cases with cytology up to 5
    years (before showing normal, atypical squamous calls of undetermined significance (ASCUS), low-
    grade squamous intraepithelial lesion (LSIL), or unsatisfactory smear) and benign histology is shared
    with all laboratories. Only a laboratory audit of smears and histology is undertaken. This audit is
    blinded with two controls per case. All laboratories have now participated.
•   Since 2016, there is also a national central audit of smears and histology. The National Central Audit
    Group consists of pathologists and cytology screeners. The results from the National Central Audit
    Group overrule the local decision if two-thirds agree on a diagnosis. There is a continuous evaluation
    of whether there is a need to continue with the audit.
•   If there is a change in diagnosis to a high-grade cytology and histology, the laboratory informs the
    gynaecological department following up with the cancer patient, or the smear taker who took the
    smear, about the revised result.
•   When a physician is notified that a patient with cervical cancer has had a change in cytology from
    normal (interval cancer), ASCUS (a common early finding), or LSIL (mild dysplasia) to a high-grade
    change or cancer, the physician is expected to discuss this with their patient. There is not yet
    a standardised letter to doctors or patients (this is being developed), nor is there standardised
    documentation to confirm that the patient has been notified.
•   Women are not automatically compensated, but they can contact the Norwegian System of Patient
    Injury Compensation to make a claim, in which case a third level of independent audit is undertaken. If
    there is compensation, the laboratory maximum is €10,000.




                                                        27
                            Expert Reference Group Interval Cancer Report CervicalCheck




                                                                                                             Ex. A-10
•   In a previous case in 2017, it became apparent that laboratories did not have access to the whole
    screening history in relation to individual women, or to information about individual women. In 2019, all
    laboratories were granted access to all screening results, histology results and treatment information.
•   Screening professionals in Norway have worked closely with journalists to increase awareness around
    screening issues and acknowledge the challenges associated with screening.




British Columbia
The British Columbia Cancer Agency (BCCA) provides cervical cancer screening (cytology) every 3 years
for women aged 25–65. Prior to 2016, screening was initially recommended annually, and then changed to
every 2 years; until international evidence indicated that a 3-year screening interval was equivalently safe.
In Canada (population 37 million), health services are the responsibility of each provincial government.
Nine of the 10 provinces (population 28.5 million) have population-based cervical cancer screening
programmes. British Columbia (population 5 million) has one of the oldest cervical cancer screening
programmes in the world, which has been operational for more than 50 years.
•   In the 50-year duration of the programme, the incidence of cervical cancer in British Columbia has
    declined by 70% and mortality has declined by 75%. (31)
•   The BC Cancer website states that screening reduces the risk of being diagnosed with cancer by up to
    70% and that if cancer is caught at an early stage, the chance of survival is greater than 85%. (32)
•   Likewise, for the nine provinces offering screening, the incidence of cervical cancer fell from 13 per
    100,000 female population to 3 per 100,000 between 1984 and 2015.
•   At least 70% of eligible women participate in screening in British Columbia.
•   Information is available to women online and through leaflets in GPs’ offices. Information regarding
    protection of privacy and personal information is included. Women are advised that their personal
    information may be used for quality assurance.
•   Consent is implied by participation in the programme.
•   Cytology results are sent to GPs’ offices; however, since 2019, women have been able to read their
    own results online.
•   Each year some 350,000 cytology tests are read in a single, dedicated BCCA laboratory.
•   In addition to mandatory (according to Canadian and American standards) laboratory quality assurance
    of routine cytology, the BCCA laboratory conducts an internal audit of the previous 5 years of cytology
    results on all diagnosed cancer cases (180 patients in the most recent year) on an ongoing basis.
•   The cytology review is blinded (on a 1/1 basis). Patients who have never been screened or who have
    not had a screening in the previous 5 years are excluded from review.
•   Quarterly reports go to each cytotechnologist and supervisory cytopathologist.
•   Teaching slide sets are available for cytotechnologists and pathologists and are discussed at teaching
    rounds.




                                                        28
                            Expert Reference Group Interval Cancer Report CervicalCheck




                                                                                                              Ex. A-10
•   In British Columbia, provincial legislation protects quality assurance and audits from disclosure
    to patients, except in circumstances where their current disease management might change. In
    the setting of patients already diagnosed with and treated for cancer, there would be no change in
    management, and thus there is no disclosure.
Of note, each of the nine Canadian provinces engaged in cervical screening has legislation protecting
audits from disclosure. This protection applies generally in health services and is not specific to public
health programmes such as screening. The legal protection was established to improve the focus on
quality assurance and education for professional staff.




Netherlands
•   The Dutch National Cervical Cancer Screening Programme is one of seven screening programmes
    in their Centre for Population Screening, which are all coordinated by the Dutch National Institute for
    Public Health and the Environment (RIVM), an agency of the Ministry of Health, Welfare and Sport.
•   The Centre for Population Screening sets standards and governs quality assurance and
    implementation of programmes. It commissions services nationally, which, for cervical screening are
    delivered in 5 regions.
•   Cervical cancer screening in the Netherlands (population 17 million) is a preventative screening
    programme for women aged between 30 and 60 years. Cervical smears were collected and used for
    diagnostics and screening on a large scale in the Netherlands since 1970. Since 1996, a nationally
    standardised population based screening programme has been applied. Cytology was performed in 40
    hospital laboratories and was the primary screening test until January 2017.
•   The Netherlands was one of the first countries to introduce HPV testing as the principal screening
    modality in January 2017. The screening interval is every 5 years, changing to every 10 years for low-
    risk women.
•   The Netherlands is in the process of developing a quality assurance and audit programme, including
    interval cancers, for the future. HPV tests are not available for retrospective audit. Testing has been
    centralised to five laboratories.
•   There is a comprehensive national histopathology registry, including cytology. Hospitals can access
    their own data and request screening data from other laboratories. All hospitals register cervical
    cancers in the screened population in PALGA: Dutch Pathology Registry. PALGA is the nationwide
    network and registry of histo- and cytopathology in the Netherlands.
•   Prior to the commencement of HPV testing, if an interval cancer is diagnosed, the hospital reviews its
    own cytology or slides from another hospital on request.
•   If an interval cancer is detected, the screening laboratory will review its own slides. The review of
    cytology in the context of quality assurance is internal to the hospital and is not anonymised or blinded.
    This presents a risk of retrospective bias. Notification is included in the PALGA report by means of
    a disclaimer. The modified report is sent to the GP. If a discrepancy is noted on cytology review, it is
    notified to the National Cervical Cancer Screening Programme, as well as hospital risk management
    personnel.
•   If a discrepancy noted on cytology review has clinical consequences for the patient, the reviewer must
    ensure that the GP is aware of the changed report.




                                                        29
                             Expert Reference Group Interval Cancer Report CervicalCheck




                                                                                                            Ex. A-10
•   The internal reviews are for professional development and quality assurance; they are not disclosed to
    the patient by the screening laboratory.
•   If an individual cancer patient requests a review, it is policy that the attending physician must request
    this review. In that case, an anonymised and blinded review of cytology is carried out among 10
    independent pathologists.
•   There is no legislation mandating open disclosure to patients. The responsibility lies with the care
    provider in question, based on his or her duty of care.




England
In England (population 56 million), the National Cervical Cancer Screening Programme was established
in 1988. In their governance structure, Public Health England (in compliance with advice from the UK
National Screening Committee) is responsible for provision of standards and guidance to service
providers and their commissioners, quality assurance, data analysis, incident management advice and
public information. England operates a distributed model of cervical screening: NHS England and NHS
Improvement commissions service providers in 7 regions, including GP Practices and Hospital Trusts
(132) that provide laboratory (HPV testing, cervical cytology and/or histology) and colposcopy services.
NHS England and NHS Improvement also commissions the national call and recall administration service
(CSAS).
•   The local Hospital Trusts are accountable for delivery of laboratory and colposcopic services and their
    related audit and internal quality assurance, in compliance with national guidelines. Hospital Trusts are
    responsible for patient communications and disclosure relating to the cervical invasive cancer audit.
•   CSAS is responsible for inviting, reminding and issuing result letters to eligible women.
•   There were 49 laboratories providing cytology, this number has recently reduced to 8 laboratories
    following the implementation of HPV Primary screening. These 8 services provide both HPV and
    cytology.
•   Primary HPV screening was implemented by NHS England and NHS Improvement in December 2019,
    after 4 years of planning.
•   Colposcopy is conducted in about 200 centres. The majority of the 132 Hospital Trusts providing
    colposcopy services will also have local cervical histology laboratory services
•   A local Cervical Screening Provider Lead (CSPL) has oversight of each Hospital Trust’s cervical
    screening service. The CSPL coordinates invasive cancer audit data from each Trust and reports it
    nationally to PHE’s Screening Quality Assurance Service (SQAS) for national analysis. The CSPL co-
    ordinates arrangements to ensure women are offered results of the audit if they wish to receive them
•   Hospitals identify newly diagnosed cases of invasive cervical cancer from colposcopy clinics,
    Multidisciplinary team conference records or histology data
•   Separately, national data is available from the Cancer Registry to cross check with national SQAS
    records.
•   Since 2007, all cases of invasive cancer have been reviewed whether or not the individual participated
    in screening (legal approval in place).




                                                         30
                             Expert Reference Group Interval Cancer Report CervicalCheck




                                                                                                              Ex. A-10
•   More than 2,500 cancers are diagnosed annually. The review of cytology, histology and colposcopy is
    conducted by the local service multidisciplinary team.
•   Public Health England publishes online cancer audit guidance. An audit management committee with
    representation from all parts of the screening pathway advises on development of the audit.
•   Cytology review of all cases of invasive cervical cancer is internally conducted by the original
    laboratory.
•   Slides are part of a continuous review process and are not batched. According to criteria, some slides
    will be selected for further external review by one of the 4 cytology training schools in England.
•   Reviews are NOT blinded. Laboratory experts in England believe that the work load and organisational
    issues involved in blinded reviews are impractical and do not answer the relevant question. The reviews
    are undertaken to identify any potential reasons why a cancer may have subsequently developed to
    inform the development of the national programme and provide information to women. The reviews are
    not intended to try and answer a historical question of whether routine screening would have identified
    an abnormality at the time of primary screening.
•   The principal purpose of cytology review is educational.
•   Since 2001, all women are told that an audit will take place and they will be offered disclosure of
    its findings. It is the responsibility of each Trust to communicate this information, either in locally
    developed contact letters or when the oncology nurse meets a new patient. Disclosure, if the patient
    consents, is carried out by local providers.
•   Nationally, the SQAS team does not routinely collect data on disclosure meetings at present. The
    process is picked up as part of routine QA visits, which take place at least once every 5 years for each
    Trust, the QA team checks whether appropriate audit and disclosure arrangements are in place
•   In some cases, reviews can take more than 12 months to complete. The cytology review is the most
    time consuming. New guidance is in development with an aim to reduce timelines to a maximum of 12
    months.
•   Guidance on disclosure for the cervical screening programme along with training questions and
    a teaching video and national patient information materials on open disclosure are currently in
    development.
•   Public Health England publishes Invasive Cancer Audit Reports every 3-5 years. These are an excellent
    source of information on all elements of audit. The most recent report on patients diagnosed between
    2013 and 2016 was published in 2019. It reported that for patients aged less than 50, within 3.5 years
    of diagnosis, 20% had a negative test, which, on non-blinded review, was upgraded to borderline or
    worse cytology in 42%. This meant that 8.5% of patients with cancer had a test where an abnormality
    was not identified by routine screening. For patients aged over 49, 27% had a negative cytology test
    within 5.5 years of screening, 46% of these were upgraded to borderline or worse on review, meaning
    12.5% for whom routine cytology did not identify an abnormality.
•   Overall, in the total diagnosed with invasive cervical cancer (2,591 in 2017, Office for National
    Statistics), and the much greater numbers of well women screened in England (3.18 million, NHS Digital
    and Public Health England), these numbers are very small.




                                                         31
                            Expert Reference Group Interval Cancer Report CervicalCheck




                                                                                                           Ex. A-10
Wales
•   Cervical Screening Wales (currently as part of Public Health Wales NHS Trust, previously as Velindre
    NHS Trust) has provided national cervical cancer screening since 1999. The overall population is 3.14
    million individuals. Approximately 230,000 screening invitations were sent in 2018-2019, and 175,000
    tests performed. Initially, cytology was the primary screening test, reported in 15 laboratories. HPV
    testing was introduced in a phased manner between 2014 and 2016, initially as ‘Test of Cure’ and then
    as triage of low grade abnormalities.
•   Since October 2018, primary HPV testing has been implemented as the initial test following an 18
    month ‘early adopter’ phase. Now, a single laboratory is responsible for both HPV and reflex cytology
    processing. Pathologists in several regions across Wales participate in reporting and auditing cytology
    using an all-Wales network. One pathologist is the senior quality assurance clinician for the cervical
    screening programme.
•   Wales has an excellent integrated IT system linking colposcopy, cancer diagnosis and management,
    histopathology in hospitals, cytology and screening data. This provides prompt information on newly
    diagnosed invasive cervical cancers and facilitates audit.
•   The national Clinical Lead for cervical screening reviews all newly diagnosed invasive cancers monthly
    and ensures that the audit processes are initiated.
•   Formal, standardised audit of cytology began in 2009 and is based on protocols published by Public
    Health England. Audits of cytology currently necessitate review of legacy slides (both SurePath and
    ThinPrep) up to 10 years ago, from laboratories no longer performing cytology screening. Review
    is not blinded. A network of pathologists and consultant biomedical scientists who are involved in
    multidisciplinary team meetings and in reporting cytology have an oversight role in audit. The principal
    aim of the audit is educational. The reports of the audit do not go back to the original cytotechnologist.
    The senior biomedical scientist conducts teaching sessions based on the audit findings and other
    interesting/educational cases every 2 weeks.
•   Each case review includes scrutiny of the screening, histopathology, administrative and colposcopy
    information. Public Health Wales (PHW) commissions colposcopy services from the seven Health
    Boards within Wales. There are 16 colposcopy clinics between 7 Local Health Boards. PHW monitor
    colposcopy waiting times. Five Health Boards report the histopathology on colposcopic biopsies. The
    Clinical Lead reviews any colposcopy episodes between 18 weeks and 5 years prior to the diagnosis
    of invasive cervical cancer. The review checks whether the colposcopy was timely in relation to the
    urgency of the smear test and whether the management was satisfactory on the day of attendance.
    Colposcopy is rated as: satisfactory, satisfactory with learning points or unsatisfactory. The Clinical
    Lead reports the results to the lead colposcopist of each health board.
•   There are at least monthly colposcopy multidisciplinary team meetings which may be conducted via
    videoconference across Health Board areas. There are strict guidelines on eligibility for discussion and
    attendance.
•   Once the review of each case is finalised, the Screening Programme Clinical Lead writes to the relevant
    clinician involved in the patient’s care to advise that either:
    a) No change on review. The Screening Programme is open to a meeting.
    b) Issues may be identified (e.g. change in cytology) but no delay to diagnosis or change noted
       in management. A letter is sent advising that there is no change to management. A meeting is
       offered.
    c) Issues identified which would have affected management and may have led to a delay in diagnosis.
       A letter is sent advising that the results are available. A meeting is offered.




                                                        32
                            Expert Reference Group Interval Cancer Report CervicalCheck




                                                                                                           Ex. A-10
    Cervical Screening Wales does not give the results directly to the clinician, as the Programme
    leadership believe that the disclosing clinician needs a very good understanding of the screening
    process and limitations of screening, to be able to answer any questions from the participant.
    Cervical Screening Wales does not directly contact the patient; this is expected to be done by the
    treating clinician who is responsible for advising/recommending a meeting with Cervical Screening
    Wales.
    Cervical Screening Wales does not document whether or not the clinician informs the patient about
    contacting the Programme for a meeting.
    The participants in screening are provided with information about audit and disclosure on the Cervical
    Screening Wales website. A leaflet has been produced for participants who have a screening review, to
    help them decide whether they wish to know the results of the review.
•   If a patient requests a meeting, this is typically conducted by two senior staff from Cervical Screening
    Wales, typically the Clinical Lead and the Head of Programme. Alternatively, one of the 6 Programme
    Lead Nurse Specialists may participate. Typically, there are between 6 and 8 disclosure meetings
    annually. A structured approach to disclosure has been developed. Patients are sent a leaflet in
    advance of the meeting. Consent is implied by participation in a meeting.
•   Prior to the disclosure of review results meeting with the screening participant, each case is discussed
    at Cervical Screening Wales Audit of Cervical Cancer Multidisciplinary Team (CSWACC MDT) meeting.
    This involves the Clinical Lead, Head of Programme, Legal & Risk Advisor, Cytology reviewers and QA
    Colposcopist (where required). This meeting is to categorise whether original reports were satisfactory
    or unsatisfactory, and whether there has been any apparent Breach of Care, so that there is an agreed
    approach to the disclosure meeting. Where there is a change on review that would have affected
    management, but this is not felt to be Breach of Care, the options of the ‘Putting Things Right’ process
    can be offered in the disclosure meeting.
•   A cancer case review group is held on a quarterly basis. This group is chaired by the Cervical
    Screening Wales Clinical Lead. All cases requiring any reviews are discussed, and the review outcomes
    noted. Cases leading to reports for Lead Colposcopists and any disclosure/legal cases are also
    discussed.




                                                        33
                             Expert Reference Group Interval Cancer Report CervicalCheck




                                                                                                            Ex. A-10
Northern Ireland
At the time of conducting the international survey, Northern Ireland (population 1.8 million) was not
conducting open disclosure following an audit, but was developing the processes to facilitate this.
Following significant work over a 2-year period, this process has now progressed to the implementation
stages.
As part of the review of evidence to inform the future of cervical cancer audit in Ireland, the Expert
Reference Group asked for the cervical screening lead from Northern Ireland to present on the approach
to auditing cervical cancers and to disclosing audit results. The following is the key learning from that
presentation:
•   In Northern Ireland, the proposed audit will involve a standardised audit of all invasive cervical cancers.
•   A statement on audit is being added to the information leaflet for participants in all cancer screening
    programmes, and to a specific information leaflet for women diagnosed with cervical cancer to inform
    them that their case will be reviewed.
•   There is a multidisciplinary approach to audit which considers the whole screening pathway. Cases
    of invasive cervical cancer are identified at hospital level and discussed at multidisciplinary team
    meetings. Each hospital in Northern Ireland has a hospital based programme coordinator (HBPC)
    who will be responsible for triggering the audit process. This audit process will be undertaken in
    conjunction with the cervical screening programme leads in the Northern Ireland Public Health Agency.
•   The audit data set will include cytology review, colposcopy review and histology review.
•   In terms of cytology review, external cytology review will be undertaken if deemed appropriate. The
    external review panel is selected by the Public Health Agency (the agency responsible for coordination
    of all screening programmes in Northern Ireland). The results of the external review will be returned by
    the external panel directly to the HBPC, who will record it in the audit database.
•   Three key questions will be applied to the interpretation of issues arising from the audit. These
    questions focus on process, interpretation and impact.
•   The audit outcome category will be agreed by the multidisciplinary team and assigned to every case.
    There are three potential audit outcome categories for invasive cervical cancer, as follows:
    –   Category 1: Satisfactory review. No untoward findings.
    –   Category 2: Satisfactory review with learning points. These include false negative cases or minor
        process or management shortcomings considered to be within the limitations of the screening
        programme.
    –   Category 3: Unsatisfactory review, which demonstrates significant false negative changes in
        cytology or significant process or management shortcomings that constitute a patient safety
        incident.
•   Cases assigned to Category 3 will invoke Northern Ireland and Trust governance procedures.
•   Disclosure of audit results will be standard. However, consideration will be given to where a patient has
    indicated that they do not want to know the findings of the audit. A woman can change her mind at any
    time. Otherwise, the following approach will be followed:
    -   For Category 1 patients, the patient will be written to or told the outcome at her next appointment
        with her consultant.
    -   For Category 2 patients, the patient should be informed in writing or at her next appointment. Some
        clinicians may wish to offer these patients an opportunity to discuss the findings in further detail.
    -   For Category 3 patients, the woman should be written to, advising that the results of the audit are
        now available, and offered an appointment to discuss the findings with her consultant.



                                                         34
                            Expert Reference Group Interval Cancer Report CervicalCheck




                                                                                                           Ex. A-10
•   The multidisciplinary team at Hospital Trust level will agree who is best placed to meet with the patient,
    taking account of the nature and complexities of the issues to be discussed. The meeting will always
    be led by an individual with whom the patient already has a relationship. Full disclosure will be given to
    all patients at the meeting.
•   The target timescale for completion of the audit of cervical cancers is within a maximum of 6 months of
    the diagnosis of cancer.
•   Monitoring compliance: Each hospital will be expected to undertake an annual audit of its compliance
    with the audit and disclosure pathways. These will be monitored at annual quality assurance data
    review meetings for cytology and colposcopy with the Public Health Agency and the Northern Ireland
    Quality Assurance Leads.




Scotland
Background
Cervical screening was introduced in Scotland (population 5.45 million in 2019) in the 1960s. Although
large numbers of women were offered tests, the service at this time was not introduced as a population
based programme. The national cervical screening programme was introduced in Scotland in 1988 with
the aim of reducing the incidence of invasive cancer of the cervix by identifying cell changes which may
develop to be pre-cancerous in women who otherwise have no symptoms. These cell changes can be
easily treated and treatment is usually very effective. Initially women aged 20-60 years were routinely
invited every three years. Women on non-routine screening (where screening results have shown changes
that require further investigation/follow up) were invited up to the age of 68. From June 2016, the age range
for cervical screening changed from ages 20-60 years, to ages 25-64 years plus 364 days. The frequency
of cervical screening continued to be every three years from age 25 to age 49, but changed to be every
five years for women from age 50 to 64 plus 364 days of age. Women on non-routine screening were
invited up to age 70 years plus 364 days of age. Women under the age of 25 who had already been invited
for a test as part of the screening programme continue to be invited for screening, regardless of whether
her recall date was before or after she had reached 25 years and regardless of whether she had attended
for screening or not.
•   Cervical cytology was the primary screening test until March 2020, when HPV testing was introduced
    as the primary screening test. All women are now screened every 5 years.
•   In 2018/19, 407,854 cervical screening tests were processed. The uptake rate for cervical screening
    was 73.1% with 1,030,703 eligible women having participated in the screening period as at 31st March
    2019. In 2017 there were 276 invasive cervical cancers diagnosed annually (screened, symptomatic
    and incidental cases). https://www.isdscotland.org/Health-Topics/Cancer/Cancer-Statistics/Female-
    Genital-Organ/#cervix




                                                        35
                            Expert Reference Group Interval Cancer Report CervicalCheck




                                                                                                           Ex. A-10
Governance
•   National Services Division (NSD) provides national co-ordination for the Scottish Cervical Screening
    Programme. There are 14 territorial NHS Boards who are responsible and accountable for the delivery
    of a high quality, safe and effective cervical screening service to its resident eligible population.
    Laboratory services were provided by nine cytology laboratories until 2014, now all HPV testing and
    cytology are carried out in two laboratories which are now centrally commissioned via NSD. There is
    also a nationally commissioned Scottish Cytology Training School. Since the implementation of HPV
    primary testing, cytology EQA is being sought from England.
•   The UK National Screening Committee advises Ministers and the NHS in the four UK countries about
    all aspects of screening policy. The Scottish Screening Committee holds responsibility for advising
    Scottish Government and Ministers, providing strategic direction to NHS Scotland. The Scottish
    Screening Review 2018 recommended the establishment of a new National Screening Oversight
    Function to provide oversight, at a national level, of all parts of the screening pathway. This Function
    is currently being established and will be accountable to Board Chief Executives and the Scottish
    Screening Committee. Board Chief Executives delegate their Accountable Officer role locally to
    the Director of Public Health. This is further delegated to the Board Screening Coordinators who
    are usually a consultant or specialist in public health with a remit to oversee the delivery, quality
    and effectiveness of the screening programme for the resident eligible population. External quality
    assurance of screening programmes is delivered by Healthcare Improvement Scotland. National
    Services Division coordinates the internal Quality Assurance and Governance structure for the
    programme, where there is an overarching Programme Board.




The National Invasive Cervical Cancer Audit and Duty of Candour
•   The National Invasive Cervical Cancer Audit dataset was developed due to an inability of NHS Health
    Boards and the Scottish Cervical Screening Programme to produce benchmarked, comprehensive
    data about the circumstances relating to the development of invasive cervical cancer despite the
    presence of a screening programme. There was previously an audit proforma in place for NHS
    Health Boards to record invasive cancer audit data. This proforma was developed by the Screening
    Co-ordinators and laboratory service and was limited in extent, with no information gathered on
    the process of calling and recalling participants, the accuracy of the histological and colposcopic
    confirmation of a screen-detected abnormality, or of the treatment. This proforma was neither
    consistently used nor comprehensive enough for the current screening programme, nor was the
    data collated at a national level. Thus, many aspects of the programme, essential for the successful
    prevention of invasive cervical cancer, were not subject to systematic evaluation.
•   The new dataset developed in 2014 for national adoption in 2015 allows scrutiny of the full patient
    pathway and processes of cervical screening and their effectiveness. The dataset allows audits that
    will lead to better detection, diagnosis and treatment of cervical cancer. One purpose of the audit is
    to allow a better understanding of the reasons for false negative results and to promote learning and
    service improvement. While developing the dataset it was not anticipated that audits of participants’
    tests would be passed on to the participant should the audit identify that they might have been
    managed differently. It was developed to contribute to continuous quality improvement, education and
    training.




                                                        36
                             Expert Reference Group Interval Cancer Report CervicalCheck




                                                                                                            Ex. A-10
•   The cases subject to the audit are submitted to Public Health Scotland to allow for national analysis
    and Public Health Scotland provide information from Cancer Registry to NHS Boards to ensure that
    all cases are included. This provides a cross-check with NHS Board-based systems in laboratories,
    gynaecology and oncology services.
•   The outcome of the national audit is shared with the relevant programme governance groups and the
    NHS Board Screening Coordinators. The learning from local NHS Board outcome data has also been
    shared with other NHS Boards.
•   Patient information leaflets indicate that data will be used for audit, research, education and service
    improvement. There is not a consent form for participation in screening or an opt out option for audit.
    Attendance for screening is deemed implied consent.
•   Duty of Candour on health, care and social work services came into effect on 1 April 2018. The overall
    purpose of the duty is to ensure that organisations are open, honest and supportive when there is an
    unexpected or unintended incident resulting in death or harm. All NHS Boards should be following the
    Duty of Candour Procedure (Scotland) Regulations 2018. There is not however any national guidance
    on how the regulations should be applied for screening.
•   Since April 2018 NHS Boards have a duty to be contacting participants if the result of the audit
    suggests their management should have been different. Discrepancies in management are recorded
    and an assessment made as to whether management was reasonable.
•   The patients’ clinical information is kept by the service provider. The multidisciplinary team in each
    Health Board reviews the outcome of each audit and the pathology, clinical stage and prognosis of
    each patient. If it is felt that the audit results would have resulted in a change of management, the team
    then considers two major factors in deciding whether or not there was a serious adverse event: was the
    change in cytology (or any other clinical element) within the normal range of screening performance?
    And was the impact on the patient considered moderately harmful? For example, a patient diagnosed
    and treated with a FIGO Stage 1A cancer which was locally excised would not have suffered moderate
    harm, her prognosis is excellent. If, however, there was a serious error outside of normal practice
    standards and moderate harm for the patient e.g. FiGo Stage 1B or worse, the multidisciplinary team
    should ensure the patient is written to and asked if they would like a meeting to hear the results.
    There are no programme specific guidelines on when to disclose information to a patient, instead, the
    approach is by consensus.
•   All screening programmes have a generic adverse event policy. Cytology is not specifically mentioned.
    The National Screening Programme does not keep data on how many women are notified or attend
    for a meeting. Numbers are believed to be very small. There do not appear to have been any legal
    cases documented by the Central Legal office for Clinical Negligence and Risk in the last 10 years.
    The programme encourages disclosure and thinks it mitigates risk and addresses the patient’s need
    to know. Auditing cytology in Scotland is influenced by their use of automated scanning of slides. All
    reviewed slides which were originally processed on the Hologic scanner are reviewed on the Hologic
    review scope to check for the presence of abnormal cells within the 22 fields of view. The slides are
    blinded during the review but the current SCCRS system precludes the option of reviewing the slides
    as anonymised samples within the routine workload.
•   Educational meetings are held with all laboratory staff involved in cervical cytology to review the slides
    and outcome of the overall audit. The aim is to look for any common themes or areas of diagnostic
    weakness and to address these through targeted internal and external training. Any areas of concern
    are also shared with the training school to inform future training programmes.




                                                         37
                          Expert Reference Group Interval Cancer Report CervicalCheck




                                                                                                   Ex. A-10
The Expert Reference Group’s response to the recommendations
in Cervical screening in cases of cervical cancer in Ireland between
2008 - 2018: RCOG Independent Expert Panel Review
In December 2019, following the publication of the Royal College of Obstetricians and Gynaecologists’
(RCOG’s) Independent Clinical Expert Panel Review of CervicalCheck, the Minister for Health requested
that the Expert Reference Groups incorporate consideration “of the Expert Panel’s recommendations
on interval cancer audit and disclosure in their ongoing deliberations, along with international best
practice and consideration of the wider environment including any other expert input the groups deem
necessary”. (28)
The Expert Reference Group considered these recommendations, and its response to each of the
recommendations can be found in Appendix 5b. The recommendations were helpful in our deliberations,
but do not change any of the recommendations in our report.




                                                      38
                            Expert Reference Group Interval Cancer Report CervicalCheck




                                                                                                          Ex. A-10


Section Five:
Recommendations for the
Management of Invasive
Cancers in the Cervicalcheck
Screened Population

Consent and information resources in the CervicalCheck
screening programme
Currently, all patients participating in the CervicalCheck programme sign informed consent to participate
in the programme. Patients are informed that cervical smears do not detect all cervical cancers. Additional
information on the occurrence of interval cancers should be made available from the start of the patient’s
journey through screening. When participants join the screening programme, they should be informed
that CervicalCheck will undertake anonymised cytology audit and will routinely review other programme
processes, including colposcopy performance and pathology, for the purpose of programme quality
assurance. It is essential that participants are informed that audit is integral to the screening service but
that, should they later wish to withdraw consent from the screening service, they may. This process should
be reiterated at each stage of the screening process. Particular attention should be paid to consent when
carrying out smear tests and conducting colposcopy examinations.


Recommendation 1: Women should continue to be provided with all the information they require in
order to help them make an informed choice to consent to participate in the CervicalCheck programme.
Current informational materials should be revised in order to reinforce the information on the benefits and
limitations of screening. These materials should continue to include explicit information on the occurrence
of interval cancers. They should also include information on how women can request a review of their
case, if desired. Expanded content on data-sharing arrangements between CervicalCheck and the
National Cancer Registry Ireland (NCRI) should be included. The Privacy Notice provided to patients in
relation to their participation in the CervicalCheck Programme may need to be updated to explain what
personal data the HSE will share with the National Cancer Registry Ireland (NCRI) and any other third
parties, including but not limited to the purpose(s) of processing, the legal basis for processing, etc., to
ensure compliance with data protection law.




                                                        39
                            Expert Reference Group Interval Cancer Report CervicalCheck




                                                                                                          Ex. A-10
Patient-requested reviews of invasive cervical cancers
Any woman with a negative screening result who is subsequently diagnosed with an invasive cancer
should have access to any information necessary in order to better understand her diagnosis. Recent
commentary, including the Scoping Inquiry into the CervicalCheck Screening Programme conducted by
Dr Gabriel Scally, was critical of the manner in which information was provided to women. All women must
have access to a patient-requested review; this has not been previously available in the CervicalCheck
programme. The Expert Reference Group did not recommended restricting reviews to women with interval
cancers, as international experience has concluded that all invasive cancers should be reviewed.
There are many challenges associated with completing such reviews, including, but not limited to,
protocols for classification, hindsight bias, and logistical challenges. Continually updated, evidence-based,
robust standard operating procedures (SOPs) are required for conducting reviews.
We estimate that approximately 160 patients per year who participate in screening will be diagnosed with
cervical cancer, the majority of whom (87%) are diagnosed because they participated in the CervicalCheck
programme and would be considered a success of the programme. Approximately 30 patients per year
(13% of all patients with cervical cancer) develop interval cancers and may question why this occurred.
If, as experienced in the UK, more than 50% of all patients request a review, this would comprise at least
80 reviews annually. As an audit has not been undertaken for more than 2 years, there may be another
160–320 patients requesting reviews. Experience in two national health jurisdictions (that responded to
the international survey) show that reviews typically take 6 to more than 12 months to conduct. The RCOG
review of 1,034 Irish patients took a year and was complex to execute. We recommend initiating patient-
requested reviews as soon as possible after approval of this report. Realistically, this is likely to take at
least 6 months to begin.


Recommendation 2: CervicalCheck should establish a process to conduct patient-requested reviews
of all invasive cancers (both interval and screen-detected cancers) and establish a standard operating
procedure (SOP) for this purpose. Patient-requested reviews should only be undertaken following
receipt of written consent from the patient. These reviews should be available to all women diagnosed
with invasive cancers, including historic cases of women who did not participate in any other National
Screening Service or Royal College of Obstetricians and Gynaecologists cytology review processes.
Based on international experience, CervicalCheck should advise that a patient-requested review may take
more than 12 months to complete.


Recommendation 3: The findings of all patient-requested reviews should be fully disclosed, and
arrangements for this will be included in the CervicalCheck SOP. It is further recommended that
the responsibility for disclosure of the review outcome rests with the treating clinician, generally the
colposcopist or oncologist. This disclosure will be conducted in collaboration with the CervicalCheck
programme and the woman’s general practitioner (GP). CervicalCheck must notify the disclosing clinician
of the outcome of the review, and in turn, the disclosing clinician must confirm with CervicalCheck that
disclosure has taken place. Discordance in cytology review is not unexpected or unanticipated. This would
not meet the definition of a patient safety incident. If a serious adverse event is identified, HSE policies
must be followed.




                                                        40
                             Expert Reference Group Interval Cancer Report CervicalCheck




                                                                                                            Ex. A-10
Programmatic review of cytology
The Expert Reference Group’s international survey found that 11 of the 17 programme respondents
conduct audits of invasive cancers. All reported audits involved cytology review, a minority of which were
blinded. Programmatic review of cytology is standard practice internationally for quality assurance and for
professional education purposes.
The majority of international programmes regard interval cancers as expected and unavoidable. Clinical
audits which are not blinded introduce retrospective bias and will detect changes in a significant
percentage of previously negative cytology in women diagnosed with invasive cervical cancer (30–55%).
Most jurisdictions do not consider these audit findings to constitute adverse events.


Recommendation 4: The Expert Reference Group recognises the educational value of programmatic
review of cytology of all invasive cancers including interval cancers. The Expert Reference Group
therefore recommends that Clinical Audits be conducted only where either (1) such Clinical Audits are both
blinded and anonymised; or (2) legislation protecting the confidentiality of Clinical Audits is passed by the
Oireachtas. If such Clinical Audits are conducted, CervicalCheck will include the outcomes of such Clinical
Audits in an annual report. The results of the Clinical Audits will be anonymised and/or confidential under
future legislation, and therefore results of the Clinical Audits cannot and will not be disclosed in respect of
individual cases reviewed.




Interval cancer rate
While interval cancer rates are an established KPI for breast cancer screening, the measure is not routinely
calculated for cervical screening. Six respondents to the international survey calculate and report interval
cancer rates internally. However, a calculation methodology has not been agreed; hence, international
benchmarks have not yet been determined. SOPs are in place between the BreastCheck programme
and the NCRI to calculate the interval cancer rate for BreastCheck; CervicalCheck should develop similar
processes.


Recommendation 5: The CervicalCheck programme should develop a new KPI, the interval cancer rate.
The programme should liaise with other international screening programmes and the International Agency
for Research on Cancer (IARC), specifically with regard to:
•   Definition of interval cancers
•   Methodology to calculate the interval cancer rate, and
•   Benchmarking for participating programmes.


Recommendation 6: Implementation of the recommendations of the Scally Report should ensure that
communication with NCRI is strengthened to enable a more timely validation of invasive cervical cancers.
This includes consideration of the development of a population screening registry or equivalent in
collaboration with the NCRI. Implementation of the individual health identifier would facilitate this process.




                                                         41
                            Expert Reference Group Interval Cancer Report CervicalCheck




                                                                                                           Ex. A-10
Open disclosure practice
The Scoping Inquiry into the CervicalCheck Screening Programme, by Dr Gabriel Scally, has
recommended that the “National Screening Service should consider, with external assistance, the
relevance of the HSE policy on ‘Open Disclosure’ as it develops in light of this Scoping Inquiry, for all of
its screening programmes”. The review of invasive cancers represents an opportunity for the discussion
and disclosure of findings and the identification of any potential limitations of previous CervicalCheck
screenings. The Expert Reference Group has therefore considered the requirements for open disclosure.
In 2013, the HSE implemented the Open Disclosure Policy across all healthcare sectors. The most recent
version of this policy defines open disclosure as “an open, consistent, compassionate and timely approach
to communicating with patients and, where appropriate, their relevant person following patient safety
incidents. It includes expressing regret for what has happened, keeping the patient informed and providing
reassurance in relation to ongoing care and treatment, learning and the steps being taken by the health
services provider to try to prevent a recurrence of the incident”.(8)
The HSE National Quality Improvement team made an interim revision to the HSE Open Disclosure Policy
on 12 June 2019, which replaced the HSE Open Disclosure Policy dated 8 October 2013.(9) The interim
policy states that it “will be subject to further review following: (i) the development and publication of
operational guidance for clinical audit of interval cancers in screening services by the Expert Working
Group on the Clinical Audit of Interval Cancer in the CervicalCheck Screened Population. This guidance
will set out the principles and processes for how audit and individual case review should be undertaken
following a diagnosis of interval cancer in the screened population and (ii) the commencement of
provisions for mandatory open disclosure in the forthcoming Patient Safety Bill”.(9)
Historic failings pertaining to the management of disclosure in the CervicalCheck programme have been
well documented.(7)
The Expert Reference Group acknowledges that disclosure has taken place following the audit of interval
cancers within the CervicalCheck programme and as part of the review undertaken by the RCOG.
The Expert Reference Group has recommended the development of an SOP for patient-requested
reviews of interval cancers. CervicalCheck should disclose the findings of patient-requested case reviews
of interval cancers. This should be reflected in future CervicalCheck quality assurance guidance and
monitoring systems.
CervicalCheck quality assurance documentation should be amended and KPIs developed to validate and
monitor interval cancer reviews and the implementation of disclosure.
In circumstances where CervicalCheck is meeting the relevant KPIs and operating to the required
standard, interval cancers, including false negative cancers, should not be considered patient safety
incidents as defined by the current HSE Open Disclosure Policy. However, the findings of all patient-
requested individual case reviews should be disclosed, as will be set out in the interim CervicalCheck SOP
which is in development
Implementation of disclosure for patient-requested reviews of interval cancers is resource intensive and
will need to be appropriately supported.


Recommendation 7: The HSE should continue to build and promote understanding, confidence and trust
in CervicalCheck and other screening programmes through public information, engagement and education
for participants, clinicians, and the wider society. Women should be made aware that they may, separately
from any review process, request access to their screening records at any time.




                                                        42
                             Expert Reference Group Interval Cancer Report CervicalCheck




                                                                                                              Ex. A-10
Resources for future clinical audit
Recommendation 8: The Expert Reference Group recommends that the necessary resources should
be provided to CervicalCheck in order to implement these recommendations. An implementation team
should be established in order to ensure continued implementation of disclosure according to the outlined
recommendations. Processes should be continually monitored in the context of updates to the Patient Safety
Bill 2018, the General Data Protection Regulation (GDPR), tort reform and emerging international practice.




Implementation planning and operational guidance for clinical
audit for invasive cervical cancers
Implementation of recommendations
The Expert Reference Group recognises that the recommendations in this report present significant
planning and operational challenges for the CervicalCheck Programme. We appreciate that the first priority
for CervicalCheck is to roll out the new approach to screening, Primary HPV testing, in 2020, as well as
reopening the programme after the service interruption resulting from the Covid-19 pandemic. Primary
HPV testing will be a more sensitive predictor for women at high risk of precancerous changes in the cervix
and, when accompanied by reflex (concomitant) cytology, should improve the detection rate and treatment
of high grade dysplasia.
An Implementation Planning Committee is being established to develop the methodologies and standard
operating procedures for these recommendations.



Additional challenges to successful implementation must be understood:
In 2020, concerns have arisen related to the growth in legal cases arising from participation in the
programme. Prior to May 2018, the State Claims Agency was notified of 10 cases. Since then, by June
2020, there are 185 active claims not yet concluded. Additionally, the Royal College of Obstetricians and
Gynaecologists (UK) review (published December 2019) of cytology in 1034 women with cancer has already
generated 83 formal requests to CervicalCheck for patient data, which may then lead to more claims.
Furthermore, the Supreme Court Ruling of “Absolute Confidence” in the Morrissey case will inadvertently
create the erroneous impression that all cytology must be 100% accurate. This is unachievable; the reality,
internationally, is that in women diagnosed with cancer, cytology reports will change in 30 to 55 % of cases
when audited in unblinded reviews. Based on limited information in the small number of cases concluded
and the unknown number of future cases which might generate a financial settlement, the liability to the State
could be in the range to tens of millions to hundreds of millions of Euros. Since the 2019 operating budget
of CervicalCheck was €34 million, such liability would render the programme unsustainable. The other key
element to consider is the impact on staff, particularly pathologists, cytotechnologists and gynaecologists,
who might have to devote days or even weeks to each court case many times in each year, undermining time
available for screening and damaging recruitment and retention in services which are already under strain
as a result of staff shortages. Ireland is unique internationally in regard to the litigation environment and the
potential for harm to its current and future screening programmes.
The aim of this report is to support Ireland’s excellent CervicalCheck programme in order to provide quality-
assured, well organised, freely accessible public screening to current and future participants in order to
reduce incidence and mortality from cancer. The balance between respect for the patients’ need to know
their information in an open and supportive health care environment versus the duty to future participants
and staff to maintain a viable programme has weighed heavily on our approach to implementation.




                                                         43
                           Expert Reference Group Interval Cancer Report CervicalCheck




                                                                                                       Ex. A-10
Patient-Requested Reviews
The HSE and the National Screening Service must engage with and inform the public, patients, politicians
and media of the benefits and limitations of screening programmes. It is vital that screening participants
appreciate that tests will substantially reduce their risk of developing cancer, but cannot prevent or
diagnose all cancers and that interval cancers will arise in any population screening programme. A
comprehensive communications plan must be developed and implemented prior to the roll out of Patient-
Requested Reviews. The Expert Reference Group recognised that the conduct of Patient-Requested
Reviews could influence legal claims which may potentially compromise retention of professional staff and
costs of providing the Programme. The HSE, Department of Health and Government must consider putting
safeguards in place to ensure sustainability of screening. A legal framework for screening needs to be
explored.
The Implementation Planning Committee will develop the operational guidance and Standard Operating
Procedures including patient information and consent, review of screening experience, blinded audit of
cytology and cooperation between CervicalCheck, colposcopy units and treating clinicians in providing full
disclosure.



Programmatic Audit of Cytology
The introduction of primary HPV screening this year will reduce cytology volume by 85%. Cytology will
only be carried out in women testing positive for HPV. These women comprise a higher risk population
than all well women who previously were screened by cytology alone. Cytotechnologists will inevitably
identify a higher number of abnormal cells in this population and will direct more women to colposcopy.
The skills and expertise required differs from routine screening. Programmatic audit should be introduced
prospectively for cytology arising in the primary HPV screened population. The Quality Assurance and
professional education will be aligned with the new screening methodology.
The Implementation Planning Committee will develop the Standard Operating Procedures for an
anonymised and blinded review process. The audit processes will commence once resources (staff and
funds) are available and the screening programme has resumed full operation.



Development of an Annual Interval Cancer Rate
This new Key Performance Indicator for CervicalCheck will be an additional programmatic audit measure,
similar to BreastCheck.
The parameters defining an annual Interval Cancer Rate must be agreed with other international screening
programmes (and IARC), where a few have already begun this work. A standard rate (or range) must be
developed.
Data capture from the National Cancer Registry of Ireland must be developed and implemented and be
compliant with data protection regulations. A Memorandum of Understanding has already been agreed
between the National Cancer Registry of Ireland and the National Screening Service.
The Implementation Planning Committee can commence this project immediately, building on the current
links between the National Cancer Registry of Ireland and NSS.




                                                       44
                           Expert Reference Group Interval Cancer Report CervicalCheck




                                                                                                          Ex. A-10


References
1. Health Service Executive. National Review of Clinical Audit Dublin: Health Service Executive; 2019.
2. Shaw PA. The History of Cervical Screening I: The Pap. Test. J SOGC. 2000;22(2):110-114.
3. Flanagan MB. Primary High-Risk Human Papillomavirus Testing for Cervical Cancer Screening in the
   United States: Is it time? Arch Pathol Lab Med. 2018;142(6):688-692.
4. International Agency for Research on Cancer. European Guidelines for Quality Assurance in Cervical
   Cancer Screening: Second Edition. Luxembourg: European Communities; 2008.
5. National Screening Service. CervicalCheck Programme Report 2016-2017. Dublin: National Screening
   Service; 2019.
6. Arbyn M AA, Jordan J, Schenck U, Ronco G, Segnan N, Wiener H, Herbert A, Daniel J, von Karsa L,.
   European Guidelines for Quality Assurance in Cervical Cancer Screening: 2nd Edition Luxembourg:
   European Commission,Office for Official Publications of the European Communities; 2008.
7. Scally G. Scoping Inquiry into the CervicalCheck Screening Programme. Dublin: Department of Health;
   2018.
8. Health Service Executive. Open Disclosure Policy: Communicating with Patients Following Patient
   Safety Incidents. Dublin: Health Service Executive; 2013.
9. Health Service Executive. Open Disclosure Policy: Communicating with Patients Following Patient
   Safety Incidents. Dublin: Health Service Executive; 2019.
10. Public Health England. Cervical screening: invasive cervical cancer audit 2013 to 2016 England: Public
    Health England; 2019 October.
11. Sherman SM, Nailer E, Pearmain P, Todd RW, Redman CW. Disclosing the results of the invasive
    cervical cancer review to patients: a survey of lead colposcopists across England. Cytopathology.
    2016;27(4):237-241.
12. Moss EL, Sherman SM, Pearmain P, Redman CW. The NHS cervical screening programme audit of
    invasive cervical cancers: who benefits? BJOG. 2012;119(1):1-4.
13. International Agency for Research on Cancer. Cancer burden rises to 18.1 million new cases and 9.6
    million cancer deaths in 2018 [press release]. Geneva, Switzerland: World Health Organization, 12
    September 2018.
14. Mathew A, George PS. Trends in incidence and mortality rates of squamous cell carcinoma and
    adenocarcinoma of cervix--worldwide. Asian Pac J Cancer Prev. 2009;10(4):645-650.
15. Liu S, Semenciw R, Probert A, Mao Y. Cervical cancer in Canada: changing patterns in incidence and
    mortality. Int J Gynecol Cancer. 2001;11(1):24-31.
16. National Cancer Registry Ireland. Cancer Factsheet: Cervix. Cork: National Cancer Registry Ireland;
    2018.
17. National Cancer Registry Ireland. Cervical cancer rates incidence mortality 19942016_
    revision25102019_withmortalitygraphs. In: National Screening Service, editor. 2019.
18. National Cancer Screening Service. Report of the Board of the National Cancer Screening Service
    January 2008-March 2010. Dublin: National Cancer Screening Service Board; 2010.




                                                       45
                             Expert Reference Group Interval Cancer Report CervicalCheck




                                                                                                           Ex. A-10
19. National Cancer Screening Service. Guidelines for Quality Assurance in Cervical Screening: Second
    Edition. Dublin: National Cancer Screening Service; 2014.
20. Sasieni P, Castanon A. NHSCSP audit of invasive cervical cancer: national report 2009-2013. 2014.
21. National Screening Service. Important information about your free cervical screening. Dublin: Health
    Service Executive; 2019.
22. Solomon D, Davey D, Kurman R, Moriarty A, O’Connor D, Prey M, et al. The 2001 Bethesda System:
    terminology for reporting results of cervical cytology. JAMA. 2002;287(16):2114-2119.
23. European Commission. European guidelines for quality assurance in breast cancer screening and
    diagnosis: Fourth Edition. Luxembourg, European Communities; 2006.
24. Castanon A, Ferryman S, Patnick J, Sasieni P. Review of cytology and histopathology as part of the
    NHS Cervical Screening Programme audit of invasive cervical cancers. Cytopathology. 2012;23(1):13-
    22.
25. National Clinical Effectiveness Committee. Standards for Clinical Practice Guidance. Dublin:
    Department of Health; 2015.
26. Wilson JM, Jungner YG. [Principles and practice of mass screening for disease]. Bol Oficina Sanit
    Panam. 1968;65(4):281-393.
27. National Cancer Screening Service. Guidelines for Quality Assurance in Cervical Screening: Second
    Edition Dublin: National Cancer Screening Service; 2013.
28. Royal College of Obstetrians and Gynaecologists. Cervical screening in cases of cervical cancer in
    Ireland between 2008 - 2018. 2019.
29. Siebenhofer A, Semlitsch T, Herborn T, Siering U, Kopp I, Hartig J. Validation and reliability of a
    guideline appraisal mini-checklist for daily practice use. BMC Med Res Methodol. 2016;16:39.
30. Herbert A, Anshu, Culora G, Dunsmore H, Gupta SS, Holdsworth G, et al. Invasive cervical cancer
    audit: why cancers developed in a high-risk population with an organised screening programme.
    BJOG. 2010;117(6):736-745.
31. Cancer B. BC Cancer Registry 2020 [Available from: http://www.bccancer.bc.ca/health-professionals/
    professional-resources/bc-cancer-registry.
32. Cancer B. BC Cancer Screening 2020 [cited 2020 12 March]. Available from: http://www.bccancer.
    bc.ca/screening.




                                                         46
                  Expert Reference Group Interval Cancer Report CervicalCheck




                                                                                Ex. A-10


Appendices: Appendix 1
Terms of Reference




Clinical Audit of Interval Cancer
in the Screened Population




TERMS OF REFERENCE


11 September 2019




                                              47
                             Expert Reference Group Interval Cancer Report CervicalCheck




                                                                                                            Ex. A-10
Background
Population screening is a public health tool designed to reduce population mortality and/ or morbidity by
early detection. Each screening test is therefore aimed at identifying people who are asymptomatic but
who are at higher risk of having or developing the condition screened. All programmes aim to maximise the
benefits of early detection while minimising potential harms. Screening tests are not perfect and while such
programmes have contributed to a significant reduction in deaths and disease morbidity, not all people
diagnosed with the disease will have been detected by screening. Given the limitations of screening,
false negative and false positive cases are unfortunately an inevitable and expected outcome. There are
international and national guidelines describing anticipated false negative and false positive rates in a
screening programme that is working even to the highest standards.
A cancer diagnosed in the period of time after a negative screening test and before the next screening
episode is referred to as an interval cancer. Interval cancers are an inevitable, anticipated and unavoidable
component of every screening programme. Indeed, there are published reports and guidelines detailing
the expected rate of interval cancers in a population screening programme.
Quality Assurance (QA) is a central component of population based screening programmes. A robust QA
programme ensures that each programme is functioning to a satisfactory level. All quality measurements
are bench marked, collated and complied with National and International standards. The monitoring of
the rate of interval cancer is one of many programme performance indicators which together allow those
delivering the programme to reassure health authorities and patients about the quality of the service
offered.
Audit and feedback are used in all health care settings, involving all health professionals, either as
individual professions or in multi-professional teams. Clinical audit is an essential element in quality
improvement and patient safety.
In Ireland, the three cancer screening programmes have different timelines and technologies.
This review will identify the key principles and processes upon which the future practice of audit of interval
cancers will be based.




Purpose
To define the future audit processes and review guidance for interval cancers in the National Screening
Service based on international evidence and best practice.




                                                         48
                            Expert Reference Group Interval Cancer Report CervicalCheck




                                                                                                              Ex. A-10
Objectives
Having regard to the findings of the Scally Review, international best practice and any other evidence
deemed appropriate, the Expert Reference Group (ERG) is asked to
1. Establish the current audit practices of the three cancer screening programmes and compare to
   international best practice.
2. Establish any review practices, in relation to interval cancers, of the three cancer screening
   programmes, and compare to international best practice.
3. Determine best internationally accepted practice for addressing interval cancers.
4. Develop, in line with National Standards for Clinical Practice Guidance Development, operational
   guidance which sets out the principles and processes for how audit of interval cancers should be
   undertaken following a diagnosis of interval cancer in the screened population. This guideline should:
   4.1 Review standardised informed consent processes
   4.2 Outline the potential role of audit in such situations in Ireland, such that cancer screening
       programmes may be assessed with regard to their operation within agreed standards. This will
       take into account feasibility, safety, practicality, cost-effectiveness, legality and risk. Appraise the
       various options available and outline the future method of clinical audit and review in Ireland.
   4.3 Outline the future methodology for individual case review in such situations in Ireland including any
       data protection requirements.
   4.4 Establish a process for open disclosure and communication as it pertains to both interval cancer
       audit and to individual case review for a service user. This will take into account the HSE open
       disclosure policy, legislative requirements and best practice guidelines. This will also take account
       of patient’s needs, ethical responsibilities, the impact on healthcare professionals and programme
       sustainability.
5. Outline the benefits and challenges for the National Cancer Screening Programmes regarding
   implementation of the proposed systems of audit of interval cancer.
6. Recommend the commencement date for the newly proposed system of audit of interval cancer.




Patient Engagement
The Expert Groups will ensure that there is patient engagement as a key input to the design of the new
audit and review process. The Expert Groups will include two patients and / or public representatives. In
addition, the design process will include consultation with the relevant Public & Patient Involvement (PPI)
forums and research will be undertaken on the approach to the audit and review process in other EU
countries, which will also indicate the approach taken with the public and patients.




                                                        49
                           Expert Reference Group Interval Cancer Report CervicalCheck




                                                                                                        Ex. A-10
Scope
The Screening Programmes covered by the clinical audit of interval cancers will be:
•   CervicalCheck (the National Cervical Cancer Screening Programme)
•   BreastCheck (the National Breast Cancer Screening Programme)
•   BowelScreen (the National Colorectal Cancer Screening Programme)




Deliverables
A document for each of the three cancer screening programmes will be developed and will detail
recommended processes based on agreed principles and guided by best practice.
These three documents will form part of an overarching operational policy document for cancer screening.




Governance
There will be an overarching Steering Group with two Expert Reference Groups. The Steering Group will
comprise the two commissioners and the two Expert Reference Group chairs. There will be a shared
project secretariat to ensure alignment between the two Expert Reference Groups.
The two Expert Reference Groups will be:
-   Cervical and Bowel Screening
-   Breast Screening
There will be three working groups which will support each respective screening programme.
The Steering Group will bring the report to the HSE Leadership Team for final approval.




                                                       50
                               Expert Reference Group Interval Cancer Report CervicalCheck




                                                                                                           Ex. A-10
Membership
The Project Steering Group has oversight of the entire project. The steering group will agree principles
and approve recommendations from the Expert Reference Groups. It will comprise the two HSE review
commissioners and the two chairpersons, supported by the Office of the Chief Clinical Officer.
All screening programmes will adhere to overarching principles. The expert group membership will
comprise of:
-   External Chairperson
-   Patient Advocates
-   Patient Representatives
-   Screening Clinicians
-   International Screening Experts
-   Academic and research expertise
-   National Clinical Programme leads
-   Clinical Audit expertise
-   Public Health




Project Secretariat
A project secretariat will be formed with a project manager appointed and support provided by the NSS
Programme Evaluation Unit (PEU), Library services, Legal Services, Public Health and the National Cancer
Control Programme.




Project Process
The project will be approached in four stages:
Stage 1: An international literature search and communications with other international and regional
         cancer screening programmes
Stage 2: Development and design of the draft audit cycle, tools and methodologies
Stage 3: Consultation with key stakeholders (i.e. Patient Representatives, HIQA, DoH, SCA) re draft
         proposals
Stage 4: Review and final report




Timeframe
To report within four-six months from its first meeting.




                                                           51
                          Expert Reference Group Interval Cancer Report CervicalCheck




                                                                                                   Ex. A-10
Clinical Audit of Interval Cancer in the Screened Population




                                             Oversight Steering
                                                 Committee




                   Shared Project
                     Secretariat




               Expert Reference Group                                   Expert Reference Group
                    BreastCheck                                      CervicalCheck & BowelScreen




                    BreastCheck                                              CervicalCheck
                   Working Group                                             Working Group




                                                                              BowelScreen
                                                                             Working Group




                                                      52
                                 Expert Reference Group Interval Cancer Report CervicalCheck




                                                                                                                      Ex. A-10
Clinical Audit of Interval Cancer in the Screened Population
Members List


Project Oversight Steering Group

 Project Commissioner - Chief Clinical Officer, HSE                                 Dr Colm Henry
 Project Commissioner - National Screening Service, National                        Damien McCallion
 Director
 Chair - CervicalCheck & BowelScreen Expert Reference Group                         Professor Susan O’Reilly
 Chair - BreastCheck Expert Reference Group                                         Professor Risteárd Ó Laoide
 Lead Project Report Writer / Professor of Public Health, UCC                       Professor Orla Healy
 Chief Clinical Office, General Manager                                             Deirdre McNamara




CervicalCheck & BowelScreen Expert Reference Group

 Chair                                                                              Professor Susan O’Reilly
 Clinical Director CervicalCheck, NSS/CervicalCheck Working                         Dr Lorraine Doherty
 Group Co-Chair
 National Clinical Director, National Women and Infants Health                      Dr Peter McKenna
 Programme/CervicalCheck Working Group Co-Chair
 Interim Clinical Director BowelScreen / BowelScreen Working                        Professor Pádraic MacMathuna
 Group – Co Chair
 Professor of Public Health, UCC/BowelScreen Working Group –                        Professor Orla Healy
 Co Chair
 National Cancer Registry Ireland, Director                                         Professor Kerri Clough
 Director of Public Health, NSS                                                     Dr Caroline Mason Mohan
 National Cancer Control Programme, National Director                               Dr Jerome Coffey
 Consultant Epidemiologist/Director of Evaluation, NSS                              Professor Patricia Fitzpatrick*
 National Office of Clinical Audit                                                  Professor Conor O’Keane
 Associate Professor of Healthcare Ethics, RCSI                                     Professor David Smith
 BreastCheck Nurse Specialist, NSS                                                  Ruth Conboy
 International External Expert on Screening                                         Dr Ameli Trope
 Public and Patient Representative                                                  Marie Meaney
 Public and Patient Representative                                                  Bridget Doherty
 Public and Patient Representative                                                  Niall Coffey
* Therese Mooney, Head of PEU will attend in Professor Fitzpatrick’s absence
  NSS: National Screening Service; RCSI: Royal College of Surgeons in Ireland; UCC: University College Cork




                                                              53
                                 Expert Reference Group Interval Cancer Report CervicalCheck




                                                                                                                                Ex. A-10
BreastCheck Expert Reference Group

 Chair                                                                              Professor Risteárd Ó Laoide
 Lead Clinical Director BreastCheck outgoing / Consultant                           Professor Ann O’Doherty
 Radiologist, NSS
 Lead Clinical Director BreastCheck incoming / Consultant                           Professor Fidelma Flanagan
 Radiologist, NSS
 Consultant Surgeon, BreastCheck, NSS                                               Mr Martin O’Sullivan
 Head of School of Medicine / Professor of Surgery, RCSI                            Professor Arnold Hill
 Director, National Cancer Control Programme                                        Dr Jerome Coffey
 Public Health, National Cancer Control Programme                                   Dr Deirdre Murray
 Consultant Epidemiologist / Director of Programme Evaluation                       Professor Patricia Fitzpatrick*
 Unit (PEU), NSS
 Director of Public Health, NSS                                                     Dr Caroline Mason Mohan
 National Office of Clinical Audit                                                  Professor Conor O’Keane
 Associate Professor of Healthcare Ethics, RCSI                                     Professor David Smith
 National Cancer Registry Ireland, Director                                         Professor Kerri Clough
 Head of Services and Advocacy, Irish Cancer Society                                Donal Buggy
 General Practice MD                                                                Dr David Hanlon
 Psychologist                                                                       Dr Marie Ward
 Dean, Faculty of Radiology, RCSI                                                   Dr Niall Sheehy
 Faculty of Radiology Representative                                                Dr Patricia Cunningham
 Health Economist, UCC                                                              Dr Brian Turner
 International External Expert on Screening                                         Solveig Hofvind (Norway)
 International External Expert on Screening                                         Kristina Lang (Switzerland)
 Patient and Public Representative                                                  Clara Clark
 Public and Patient Representative                                                  Eileen Woods
 Public and Patient Representative                                                  Brigid Doherty
 Lead Project Report Writer / Professor of Public Health, UCC                       Professor Orla Healy
* Therese Mooney, Head of PEU will attend in Professor Fitzpatrick’s absence
  HSE: Health Service Executive; NSS: National Screening Service; RCSI: Royal College of Surgeons in Ireland; UCC: University
  College Cork




                                                               54
                                 Expert Reference Group Interval Cancer Report CervicalCheck




                                                                                                                  Ex. A-10
CervicalCheck Working Group

 CervicalCheck Clinical Director (Co-Chair)                                        Dr Lorraine Doherty
 National Clinical Director, National Women and Infants Health                     Dr Peter McKenna
 Programme (Co-Chair)
 Gynaecologist/Colposcopy Consultant                                               Dr Francois Gardeil
 Gynaecologist/Colposcopy Consultant                                               Dr Gunther Von Bunau
 Gynaecological Oncologist Consultant                                              Professor Donal Brennan
 General Practice MD                                                               Dr David Hanlon
 CervicalCheck Laboratory Coordinator, NSS                                         Maeve Waldron
 Nurse Colposcopist                                                                Anne Redmond
 CervicalCheck National Laboratory Quality Assurance Lead, NSS Dr Dave Nuttall
 Medical Virologist, Director, National Virus Reference Laboratory                 Dr Cillian F. De Gascun
 Head of Programme Evaluation Unit, NSS                                            Dr Therese Mooney
 CervicalCheck Programme Manager                                                   Gráinne Gleeson
 Primary Care Representative                                                       Anne Marie Ellwood
 Patient and Public Representative                                                 Sheera Harmon
 Patient and Public Representative                                                 Moira Dillon
 CervicalCheck Report Writer                                                       James McGrath
 Lead Project Report Writer                                                        Professor Orla Healy




BowelScreen Working Group

 Interim Clinical Director BowelScreen / BowelScreen Working                       Professor Padraic MacMathuna
 Group Co Chair
 BowelScreen Working Group Co Chair / Professor in Public                          Professor Orla Healy
 Health, UCC
 Colorectal Surgeon                                                                Professor Des Winter
 Consultant Gastroenterologist, UHG                                                Dr Eoin Slattery
 ANP / CNM Nurse Endoscopist                                                       Ann Cooney
 BowelScreen Programme Manager, NSS                                                Hilary Coffey
 Public and Patient Representative                                                 Tom O’Keefe
 Public and Patient Representative                                                 Celia Hogan
UCC: University College Cork. UHG: University Hospitals Galway. NSS: National Screening Service




                                                              55
                                  Expert Reference Group Interval Cancer Report CervicalCheck




                                                                                                                          Ex. A-10
BreastCheck Working Group

 Chair                                                                             Professor Risteárd Ó Laoide
 Lead Clinical Director BreastCheck incoming / Consultant                          Professor Fidelma Flanagan
 Radiologist, NSS
 Lead Clinical Director BreastCheck outgoing / Consultant                          Professor Ann O’Doherty
 Radiologist, NSS
 Clinical Director, BreastCheck Western Unit / Lead Consultant                     Dr Aideen Larke
 Radiologist, NSS
 Clinical Director, BreastCheck Southern Unit, / Lead Consultant                   Dr Alissa Connors
 Radiologist, NSS
 Consultant Surgeon, BreastCheck, NSS                                              Mr Martin O’Sullivan
 Consultant Histopathologist, NSS                                                  Professor Cecily Quinn
 National Radiography Service Manager, NSS                                         Suzanne Lynch
 Consultant Epidemiologist / Director of Programme Evaluation                      Professor Patricia Fitzpatrick*
 Unit (PEU), NSS
 Director of Public Health, NSS                                                    Dr Caroline Mason Mohan
 BreastCheck Nurse Specialist, NSS                                                 Ruth Conboy
 Head, Programme Evaluation Unit, NSS                                              Dr Therese Mooney
 BreastCheck Report Writer / Research Fellow RCSI                                  Dr Maeve Mullooly
 Lead Project Report Writer / Professor of Public Health, UCC                      Professor Orla Healy
* Therese Mooney, Head of PEU will attend in Professor Fitzpatrick’s absence
  HSE: Health Service Executive; NSS: National Screening Service; PEU: Programme Evaluation Unit; RCSI: Royal College of 		
  Surgeons in Ireland; UCC: University College Cork




Project Secretariat

 Project Manager, NSS                                                              Antoinette Morley
 Executive Assistant, NSS                                                          Administrative Team
 Head of Programme Evaluation Unit, NSS                                            Dr Therese Mooney
 Clinical Librarian                                                                Gethin Smith
 HSE Legal Advisor                                                                 Philip Lee
NSS: National Screening Service




                                                              56
                             Expert Reference Group Interval Cancer Report CervicalCheck




                                                                                                             Ex. A-10


Appendix 2:
International Survey Results

Methodology
A formal survey was undertaken by the Expert Reference Group, the CervicalCheck Working Group
and the Programme Evaluation Unit within the National Screening Service to gather information from
international population-based cervical screening programmes on their processes for the audit and review
of interval cervical cancers.
Well-established international cancer screening programmes were contacted across Europe, Canada and
Australia, all of which provide comprehensive access to all eligible members of the public in jurisdictions
with populations similar to or greater than Ireland’s population of 4.8 million, with one exception: Northern
Ireland was consulted (population 1.8 million), as it is the NHS jurisdiction geographically closest to Ireland.
The survey was circulated to 22 screening programmes in May 2019. If no response was received, the
contact was repeated three times. If responders required any clarification about the survey, the National
Screening Service responded to all of their questions. Globally, many countries and regional jurisdictions
do not have comprehensive, publicly funded cancer screening programmes, and thus were not eligible to
participate.




Results
Results from an international survey on clinical audit of interval cancers in the screened population were
analysed in November 2019 and are presented in this report. All comments from respondents are in italics
and transcribed verbatim.
Seventeen countries/regions completed the survey out of 22 countries invited, giving a response rate
of 77% (Figure 1). Of the seventeen countries/regions that completed the survey, eleven have an audit
process in place for interval cancers. Six countries/regions do not have an audit process for interval
cancers (Figure 2).




                                                         57
                           Expert Reference Group Interval Cancer Report CervicalCheck




                                                                                                     Ex. A-10
Figure 1. Flow diagram of main survey results




                                                  Countries
                                                   (n=22)



                                                  Completed
                                                  77% (n=17)



                            No (n=6)           Audit process for
                             35%               interval cancers



                                                  Yes (n=11)
                                                    65%




   Open disclosure for       Inform women that an                 Ask women if
    IC in screening           audit is taking place             they want to know
                                                                 outcome of audit


   No (n=8)   Yes (n=3)      No (n=8)      Yes (n=3)          No (n=8)    Yes (n=3)
    73%         27%           75%            27%               75%          27%




                  Routine consent                Are reviewers                   Financial
                  procedure covers                  blinded                    compensation
                    audit process


                No (n=4)    Yes (n=7)        No (n=8)        Yes (n=3)      No (n=7)     Yes (n=4)
                 36%          64%             73%              27%           64%           36%




                                                        58
                             Expert Reference Group Interval Cancer Report CervicalCheck




                                                                                                               Ex. A-10
Figure 2. Does your cervical screening programme undertake an audit of invasive cervical cancers
in the screened population?




              F2
                                            35%
                                            N=6                                              Yes
                                                                                             No
                                                               65%
                                                               N=11




How does your cervical screening programme undertake an audit
of interval cervical cancers in the screened population?
Of the eleven countries/regions that carry out audit, six countries/regions carry out routine individual
patient cancer review. Three countries carry out routine programme wide review, with calculation of interval
cancer detection rates. One country/region carries out a routine programme wide review, with calculation

              F3
of interval cancer detection rates and routine individual patient cancer review while one country/region
carries out audit at hospital level. In one country/region hospital laboratories audit all cancers and there is
also a national audit process for auditing all cervical cancers.



Are control samples included with audit cases when sent for
cytology review?
Of the eleven countries/regions that carry out audit, four include control samples with audit cases when
sent for cytology review. These countries/regions were also asked how controls are selected and how
many controls are included in the review. The four countries/regions answered as follows:
-   2 controls per each test. It is a control test before and after the actual test. The reviewer do know in
    practice which test was an audit case
-   2 controls per case, same age of women, same smear-taker and same laboratory
-   We randomly assign 2 smears per each invasive interval cervical cancer case; these additional smears
    are chosen from the same laboratory which evaluated false negative smear
-   Generally review at least 10 slides at any given audit. An equal number of known cases are included in
    a blinded review process where the reviewers are unaware of the outcomes

              F3

                                                         59
                            Expert Reference Group Interval Cancer Report CervicalCheck


            F3
                                                                                                                 Ex. A-10
Figure 3. Are control samples included with audit cases when sent for cytology review?




        F3
                                                              36%
                                                                                                Yes
                                                              N=4
                                        64%                                                     No
                                        N=7




            F3

When reviewing the slides of an interval cancer are the reviewers
aware that the woman subsequently developed cancer, or are they
blinded to this fact?
        F3
Of the eleven who carry out audit, three countries/regions carry out a blinded review.


Figure 4. When reviewing the slides of an interval cancer are the reviewers aware that the woman
subsequently developed cancer, or are they blinded to this fact?




             F4
                                       27%
                                       N=3
                                                                                      Aware of cancer status
                                                                                      Blinded to cancer status
                                                             73%
                                                             N=8

         F4



                                                        60
                             Expert Reference Group Interval Cancer Report CervicalCheck




                                                                                                              Ex. A-10
How is hindsight bias managed in interval cervical cancer reviews?
Nine countries/regions provided a response to this question as follows:
-   This is an area we are currently considering
-   Reviewers are asked to comment on whether the original report was reasonable on any given day, with
    an experienced screener
-   This review is primarily for educational purposes - it is not to estimate the rate of missed cancers
-   Good question
-   We are not trying to validate the entire screening programme. Our objective is to try and understand
    how any woman develops cervical cancer and could have this been prevented in her case
-   I am not sure that I understand the questions. Reviewers are blinded to women’s ID and cancer status,
    since we also use controls
-   With difficulty but must be pragmatic and use common sense
-   One or two pathologists review the latest screening sample. There are no checks for hindsight bias. We
    trust the pathologists to do their job
-   Reviewers are evaluating all slides gained from laboratories, i.e. all false negative slides and additional
    slides choosen randomly (2 per each false negative one). However, specialists are aware of the
    objective of the review
-   Consensus review . Not just one reviewer
-   By blinding the reviewers to outcomes and including other cases with known outcomes (benign on
    follow up or high grade squamous lesions)
-   Review of cytology is internal by hospital staff, not blinded or anonymised




Is the interval cancer audit procedure different for cases requested
for review by an individual patient versus overall programme audit?
Four countries/regions answered “yes” to this question. Further information provided by those who
answered yes to this question is as follows:
-   All the tests are in a programme audit but the patient can send a request to the system of patient injury
    compensation(NPE). Executive officers handle the case and NPE pathologist reviews the smear
-   If a patient request the review of past smears (this is not common) before the programme audit takes
    place, this review is organised by patient’s clinician and is usually done in the same laboratory where
    the smear was evaluated for the first time
-   There is no central procedure of reviewing slides on request of a patient. A patient can only claim on
    court to evaluate smears once again
-   If an individual patient or her doctor requests a review of screening tests, it is national policy to do so
    and to provide the results to the “caretaker” doctor, usually gynaecologist or oncologist involved, who
    are deemed the most appropriate to explain the findings to the patient




                                                         61
                            Expert Reference Group Interval Cancer Report CervicalCheck




                                                                                                           Ex. A-10
Are patients informed that a cervical cancer audit is taking place?
Of the eleven countries/regions that carry out audit, three countries/regions inform patients that a cervical
cancer audit is taking place.


Figure 5. Are patients informed that a cervical cancer audit is taking place?




                    F5
                                                             27%
                                                             N=3
                                                                                            Yes
                                                                                            No
                                           73%
                                           N=8




Who contacts the women in respect of telling them that the
cervical cancer audit is taking place?
Of the countries/regions that inform patients that an audit is taking place, the information provided in

                    F6
relation to telling women that the audit is taking place is as follows:
-   Is included in our screening information leaflets.  A new specific leaflet has recently been developed for
    women diagnosed with cancer - to be discussed by clinician at time of diagnosis
-   The woman should be advised by her treating clinician
-   The colposcopist or treating doctor informs the patient




                    F7
                                                        62
                            Expert Reference Group Interval Cancer Report CervicalCheck




                                                                                                          Ex. A-10
What processes are in place to facilitate informing women that a
cervical cancer audit is taking place?
Of the countries/regions that inform women that an audit is taking place, the information provided in
                   F5
relation to the processes that are in place as follows:
-   This process is set out in a regional framework document and trusts are currently developing local
    operational protocols in line with this.
-   All clinicians have been advised, information on website, leaflet developed to give to women
-   When a woman is diagnosed her physician should inform her that the screening programme always
    audits the screening that women who get cervical cancer received as a form of quality assurance and
    it they would like the results of that review when it is complete then they just have to ask.




Do women have a choice to be part of the audit?
Of the eleven countries/regions that carry out audit, one gives women a choice to be part of the audit.


Figure 6. Do women have a choice to be part of the audit?




                   F6                                    9%
                                                         N=1



                                                                                          Yes
                                                                                          No
                                            91%
                                            N=10




                   F7


                                                        63
                             Expert Reference Group Interval Cancer Report CervicalCheck




                                                                                                            Ex. A-10
What information do you give patients who are participating in an
interval cancer audit?
Nine/countries regions answered this question with the following responses:
-   Women who are screened are informed of the registry and the quality assurance. They can opt out. 2
    women out of 2.5 million participants have done that so far.
-   As per leaflet issued to patient and additional FAQs if further information sought (available on our
    website)
-   A leaflet called ‘review of your cervical screening history’
-   No information
-   In general the pathologist informs the smeartaker that a test has been overseen if a ASCH or more
    severe smear. We are working on a standard letter that can be sent from the smeartaker.
-   Verbal and written information
-   Patients are not directly informed that audit is taking place
-   Information on screening leaflet to say samples and data may be used for audit
-   Clinician may inform patient that an audit will be done but is not required to




How do you inform women that they will be part of an audit?
Countries/regions provided the following responses:
-   The screening registry and associated quality assurance is part of the invitation letter to screening that
    is sent to all women in the country
-   Their clinician advises that an audit will be taking place and they can have the results
-   They are not informed
-   By verbal information at the time of their diagnosis
-   Verbally
-   Not informed unless clinician undertaking care informs them or woman asks




In Ireland we have an open disclosure policy for medical incidents.
Do you have such policy(s) in your country?
Of the eleven countries/regions that carry out audit of interval cancers, six countries/regions have an open
disclosure policy for medical incidents. Of these, four countries/regions have a mandatory open disclosure
policy for medical incidents in place.




                                                         64
                           Expert Reference Group Interval Cancer Report CervicalCheck




                                                                                                       Ex. A-10

                  F6
Figure 7. In Ireland we have an open disclosure policy for medical incidents. Do you have such
policy(s) in your country?




                  F7
                                        45%                                              Yes
                                        N=5                 55%
                                                                                         No
                                                            N=6




                  F7
Does the open disclosure / duty of candour policy extend to the
results of audit of invasive interval cancers in your screening
programme?        F8
Of the six countries/regions that have an open disclosure policy for medical incidents,three countries/
regions have an open disclosure policy that applies to interval cancers in screening, However one country
notifies the laboratories and has no standardised protocol for communicating the results to the women
and are not assured that all women receive the result.


Figure 8. Does the open disclosure / duty of candour policy extend to the results of audit of
invasive interval cancers in your screening programme?




                  F8
                  F9                                         27%
                                                             N=3
                                                                                         Yes
                                                                                         No


                                            73%
                                            N=8




                                                       65
                      F8
                            Expert Reference Group Interval Cancer Report CervicalCheck




                                                                                                       Ex. A-10
Do you capture consent from clients to take part in a clinical
audit?
One of the eleven countries/regions that carry out interval cancer audit one country/region captures
consent from women to take part in a clinical audit. This is captured at the screening event.


Figure 9. Do you capture consent from clients to take part in a clinical audit?



                      F9
                                                             9%
                                                             N=1



                                                                                          Yes
                                                                                          No

                                                 91%
                                                 N=10




Does your routine consent procedure for screening cover the
interval cancer audit process?
Seven countries/regions responded that their routine consent procedure for screening covers the interval
cancer audit process.


Figure 10. Does your routine consent procedure for screening cover the interval cancer audit
process?




                  F10
                                           36%
                                           N=4                                            Yes
                                                                                          No
                                                                64%
                                                                N=7




                                                        66
                             Expert Reference Group Interval Cancer Report CervicalCheck




                   F10                                                                                       Ex. A-10
Is there any legal protection for the cervical screening programme
in relation to cancers arising post screening?
Three countries/regions have legal protection in place for interval cancers arising in the screened
population.
Two countries provided further information on their legal protection as follows:
-   There is indemnity from the Country risk pool. If there is a successful legal claim then the risk pool
    proforma is completed and returned to recoup costs
-   Patients who might have been adversely affected still have to engage via medical legal processes


Figure 11. Is there any legal protection for the cervical screening programme in relation to cancers
arising post screening?



                   F11
                                                                27%
                                                                N=3                          Yes
                                                                                             No
                                               73%
                                               N=8




In your country/programme is there any financial compensation for
interval cancers?  F12
Four countries/regions have financial compensation for interval cancers. Details from these countries
regions include the following:
-   There has to be proof of screening incident rather than a limitation of screening
-   The country’s patient insurance system covers all patients treated by health care services. If a
    complaint is made, it is reviewed by the patient insurance and decided upon. The “Patient Ombud” is a
    sort of “ombudsman” system allowing for complaints as to treatment received and decisions on made
    by a.o. the patient insurance. The law from 2010 is called: Act on Complaints and Compensation in the
    Health Service




                                                         67
                            Expert Reference Group Interval Cancer Report CervicalCheck




                                                                                                           Ex. A-10
Figure 12. In your/country programme is there any financial compensation for interval cancers?



                  F12

                                                                 36%
                                                                 N=4                      Yes
                                                                                          No
                                            64%
                                            N=7




Do you capture interval cancer rates for an internal report?
Six countries/regions capture interval cancer rates for internal reporting purposes.




Do you publish your interval cancer rates?
Five of the countries/regions publish their interval cancer rates. Some comments received in relation to this
are as follows:
-   We used to publish annual reports (but have always been reluctant)
-   Feedback is communicated to clinicians involved in screening on annual educational days of the
    national cervical screening programme.
-   Results of the audit are used by the national screening programme for the targeted educational
    purposes - the aim of the audit is to identify a systematic problem that can be eliminated/minimized in
    the future with targeted actions.
-   The quality database on cervical screening is issued annually evaluating eight key performance
    indicators per laboratory, per region and for the country as a whole, a.o. number of cervical cancer
    cases. Interval cancers are not reported specifically.




                                                        68
                            Expert Reference Group Interval Cancer Report CervicalCheck




                                                                                                                  Ex. A-10
Table 1. Summary of survey results by country/region

Country/Region                                                            1   2   3   4   5   6   7   8   9   10 11
Audit of interval cancers                                                 *   *   *   *   *   *   *   *   *   *   *
Use control samples                                                       *                   *   *       *
Reviewers blinded to cancer status                                        *                       *       *
Different audit procedure for individuals                                                     *   *       *
Inform patients that an audit is taking place                                     *       *                       *
Choice to participate                                                                                 *
Consent captured to take part in a clinical audit                                                 *
Routine consent procedure for screening covers the IC audit                   *       *   *           *   *   *   *
process
Results of audit communicated to the affected patients                            *       *   *                   *
Ask women if they want to know the outcome of the audit                           *       *                       *
Open disclosure policy for medical incidents                              *   *   *           *       *   *
Mandatory open disclosure policy                                              *   *           *       *
Open disclosure policy extends to the results of audit of interval                *           *       *
cancers
Legal protection for cancers arising post screening                       *       *                               *
Financial compensation for interval cancers                                   *               *       *           *
Interval cancer rates reported internally                                         *   *   *   *   *       *
Publish interval cancer rates                                                 *   *           *   *       *




                                                        69
                             Expert Reference Group Interval Cancer Report CervicalCheck




                                                                                                                      Ex. A-10


Appendix 3:
CervicalCheck Governance
Structure
                                                               NSS Management
                                                                    Team
Approval
Approve and recommend
monitoring of standards.
To monitor, maintain and
improve upon minimum
standards of service,                                              Senior
performance and quality                                       Management Team
across all elements of the
screening programme.



Monitor
To provide senior
leadership and
direction to the cervical
screening service,                                                                Quality             Quality,
including ensuring                                                               Assurance          Safety & Risk
robust management                                                                Committee           Committee
and accountability                                                                 (QAC)
arrangements for all
aspects of the service.



Advisory                                                       Clinical Advisory
To advise and make                                               Group (CAG)
recommendations to the
CervicalCheck Senior
Management Team (SMT)
on clinical pathways
and protocols in the
programme.



Implementation
                                     Laboratory                  Colposcopy                   Primary Care
Review and set standards.
To ensure implementation
                                   Advisory Group               Advisory Group               Advisory Group
and delivery of
laboratory/Colposcopy
& HPV services satisfies
contract/MOU and QA
best practice guidelines.                                                                             Group Status
                                   Laboratory Ops                National User
                                   Group (Coombe)                   Group
                                                                                                          Being
                                                                                                       established
                                   Laboratory Ops /
                                  HPV Group (Quest)
                                                                                                         Proposed
                                                                                                       future group




                                                         70
                                 Expert Reference Group Interval Cancer Report CervicalCheck




                                                                                                                             Ex. A-10


Appendix 4:
Summary of Literature Review
Summary of studies identified that have completed a retrospective review of interval cancers as
part of a cervical screening programme

    Title          Authors        Year    Screening      Study Design              Results / Main findings Conclusion
                                          setting

1   Cervical       Elfstrom       2015    Europe-wide    A comprehensive           Response: 29/34            The results of this
    cancer         M.K., et al            survey         questionnaire was                                    survey can be used
                                                                                   Results showed:
    screening                                            developed through                                    as a basis for further
                                                                                   variation existed for
    in Europe:                                           systematic review of                                 development of
                                                                                   QA, monitoring and
    Quality                                              literature and existing                              standardised guidelines
                                                                                   evaluation, making it
    assurance                                            guidelines. The survey                               on organisation and
                                                                                   difficult to compare the
    and                                                  was sent to programme                                QA of cervical cancer
                                                                                   cost-effectiveness of
    organisation                                         organisers, Ministries                               screening programmes
                                                                                   organisation and QA
    of                                                   of Health and experts                                in Europe.
                                                                                   strategies.
    programmes                                           in 34 European Union
                                                         (EU) and European Free    Most countries found
                                                         Trade Agreement (EFTA)    it hard to estimate
                                                         countries. Detailed       the costs associated
                                                         aspects of programme      with launching and
                                                         organisation, quality     operating the organised
                                                         assurance, monitoring,    programme.
                                                         evaluation and
                                                         corresponding line-item
                                                         costs were recorded.
                                                         Documentation
                                                         of programme
                                                         guidelines, protocols
                                                         and publications was
                                                         requested.

2   European       Arbyn, M.      2010    Europe:        2nd Edition Guideline     Key: programme design      Population-based
    Guidelines     et al                  Europe         prepared by a             must permit evaluation.    programme policies
    for Quality                           Against        multidisciplinary team    Guidance outlines          which minimise adverse
    Assurance                                            of experts appointed      on screening policy,       effects and maximise
                                          Cancer
    in Cervical                                          by the European           screening organisation,    benefits of screening
                                          Programme.
    Cancer                                               Commission from           monitoring and
    Screening.                                           the former European       evaluation, new
    Second                                               Cervical Cancer           screening technologies,
    Edition—                                             Screening Network         cytological methods,
    Summary                                              (ECCSN) established       HPV detection,
    Document                                             under the Europe          guidelines for cytology
                                                         Against Cancer            laboratories, guidelines
                                                         Programme.                for histopathology,
                                                                                   complementary
                                                                                   strategies of cervical
                                                                                   cancer Prevention




                                                             71
                                  Expert Reference Group Interval Cancer Report CervicalCheck




                                                                                                                                  Ex. A-10
    Title          Authors         Year    Screening         Study Design                Results / Main findings Conclusion
                                           setting

3   The legal      Majek O. et al 2018     28 countries      An electronic               The legal framework      Comprehensive legal
    framework                              of the EU, with   questionnaire               makes it possible        framework is needed
    for European                           the United        including questions on      to personally invite     to ensure high quality
    cervical                               Kingdom           governance, decision-       individuals for          cancer screening
    cancer                                 included as 4     making structures and       screening in 29
                                                                                                                  - Majority of EU/
    screening                              countries; 4      legal framework was         countries (88%)
                                                                                                                    EFTA countries
    programmes                             EFTA member       developed.
                                                                                                                    have implemented
                                           countries:
                                                                                                                    population-based
                                           Iceland,
                                                                                                                    cervical screening
                                           Liechtenstein,
                                           Norway, and                                                            - Only half of those
                                           Switzerland)                                                             countries have
                                                                                                                    successfully
                                                                                                                    performed record
                                                                                                                    linkage studies
                                                                                                                  - Countries must
                                                                                                                    improve their legal
                                                                                                                    basis to allow
                                                                                                                    for 4necessary
                                                                                                                    programme
                                                                                                                    monitoring

4   Mortality      Lönnberg, S.    2012    Finland           Audit of screening          Squamous cell            The risk reduction
    audit of       et al                                     histories of cervical       carcinoma constituted    associated with
    the Finnish                                              cancer deaths and           59% of the cases,        attending a single
    cervical                                                 conducted a case-           adenocarcinomas 29%,     program screen at
    cancer                                                   control evaluation of       and the remaining 12%    an age below 40 was
    screening                                                the effectiveness of        were other specified     non-significant while
    program                                                  organized screening         and unspecified          clear risk reductions
                                                             in different ages with      cervical malignancies.   were observed after
                                                             mortality as outcome.       Most deaths (54%)        screening at the age of
                                                                                         were due to cancers      40–54 and 55–69.
                                                                                         diagnosed more than
                                                                                         5 years after last
                                                                                         screening invitation,
                                                                                         24% were diagnosed
                                                                                         among non-attenders
                                                                                         and only 14% of deaths
                                                                                         occurred among
                                                                                         women who had
                                                                                         attended invitational
                                                                                         screening.

5   Guidance        Hynes, M &     2009    Ireland           To describe the
    document:       Keane, T                                 reporting and
    Adverse                                                  management of adverse
    events                                                   events in Cancer Centre
    reporting and                                            with particular reference
    management                                               to delayed diagnosis of
    with particular                                          cancer
    reference
    to delayed
    diagnosis of
    cancer




                                                                 72
                                       Expert Reference Group Interval Cancer Report CervicalCheck




                                                                                                                                        Ex. A-10
    Title            Authors            Year    Screening      Study Design                Results / Main findings Conclusion
                                                setting

6   A review         Hider, P. et al    2018    New Zealand    Review of the screening     Only 13% had an              On-going review
    of cervical                                                histories of those          adequate screening           of cervical cancer
    cancer                                                     diagnosed with cervical     history over the             occurrences is an
    occurrences                                                cancer: women aged          84 months prior to           important aspect of
    in New                                                     25-69 years with            diagnosis. Women with        quality assurance for
    Zealand                                                    confirmed cervical          cancer under age 45          the national cervical
    2008–2012                                                  cancer underwent a          years were more likely       cancer prevention
                                                               review of their screening   to have been screened        strategy.
                                                               history. Cervical           than older women.
                                                               cancer incidence rates
                                                               were calculated using
                                                               Statistics New Zealand
                                                               mid-year population
                                                               estimates.

7   Policies and     Ministry of        2013    New Zealand    Their purpose is to
    Standards:       Health, New                               support all those
    National         Zealand                                   involved in the
    Cervical                                                   NCSP to achieve the
    Screening                                                  programme’s aims and
    Programme                                                  objectives by ensuring
    - Providing a                                              a high standard and
    Colposcopy                                                 national consistency of
    Service                                                    service at each step of
                                                               the screening pathway.

8   Screening-    Andrae,B.             2008    Sweden         all invasive cervical       Women who were               Nonadherence to
    Preventable   et al                                        cancer cases that were      not screened had a           screening intervals
    Cervical                                                   diagnosed in Sweden         higher risk of cervical      was the major reason
    Cancer Risks:                                              from January 1, 1999,       cancer (including            for cervical cancer
    Evidence                                                   through December 31,        advanced cancers) than       morbidity. The
    From a                                                     2001 were identified and    women who had been           screening program
    Nationwide                                                 verified the diagnoses      screened.                    was equally effective
    Audit in                                                   by histopathology re-                                    for women of all ages
    Sweden                                                     review and matched                                       and was also effective
                                                               each case subject to                                     against nonsquamous
                                                               five.                                                    cancers.

9   Cervical         Wang, J. et al 2019        Sweden         a refined case–control      Women unscreened             Findings emphasize the
    cancer                                                     cervical cancer audit       in past 2 screening          importance of routine
    case–control                                               framework to investigate    rounds showed 4              participation in cervical
    audit: Results                                             effectiveness of            times increased risk         screening and suggest
    from routine                                               cervical screening,         of cervical cancer           that management
    evaluation of                                              with measures of            compared to women            of abnormalities, as
    a nationwide                                               three screening             screened in time and         well as sensitivity of
    cervical                                                   failures: irregular-        women unscreened             the test, warrants
    screening                                                  participation, cervical     in the previous round        improvement especially
    program                                                    cancer developed            but screened in the          for preventing cervical
                                                               after cytological           most recent round also       adenocarcinoma.
                                                               abnormalities and           showed a statistically
                                                               after normal screening      significantly higher risk.
                                                               results. The register-
                                                                                           Women with abnormal
                                                               based study included
                                                                                           results in previous two
                                                               4,254 cervical cancer
                                                                                           rounds had higher
                                                               cases diagnosed
                                                                                           risk of cervical cancer
                                                               in Sweden during
                                                                                           compared to women
                                                               2002–2011, and 30
                                                                                           screened with normal
                                                               population-based
                                                                                           results, while having
                                                               controls per case.
                                                                                           normal results in the
                                                                                           subsequent round after
                                                                                           the abnormality also
                                                                                           yielded an increased
                                                                                           risk.




                                                                   73
                                 Expert Reference Group Interval Cancer Report CervicalCheck




                                                                                                                               Ex. A-10
   Title           Authors        Year    Screening      Study Design                 Results / Main findings Conclusion
                                          setting

10 Addendum:       NHS Cervical 2012      NHS Cancer     Guidance on how                                       For all cases, the
   Audit of        Screening              Screening      to include data on                                    following four questions
   invasive        Programme,             Programmes     colposcopy into the                                   must be answered:
   cervical        Tidy, J.                              audit of invasive cervical
                                                                                                               1. Was the colposcopic
   cancers:                                              cancers.
                                                                                                                 management of the
   colposcopy
                                                                                                                 woman appropriate?
   review 2013-
   14                                                                                                          2. If not, could this
                                                                                                                 have resulted in a
                                                                                                                 failure to prevent
                                                                                                                 the development of
                                                                                                                 cervical cancer, or
                                                                                                                 led to a delay in the
                                                                                                                 diagnosis of cervical
                                                                                                                 cancer?
                                                                                                               3. Was there an
                                                                                                                 inappropriate delay
                                                                                                                 in treatment of high-
                                                                                                                 grade CIN or high-
                                                                                                                 grade CGIN?
                                                                                                               4. If there was, was
                                                                                                                 the colposcopy clinic
                                                                                                                 responsible for this
                                                                                                                 delay?

11 Addendum 3:     NHS Cervical 2013      NHS Cancer     Guidance on coding
   Coding guide    Screening              Screening      for the audit of invasive
   for the audit   Programme,             Programmes     cervical cancers,
   of invasive     Castanon, A.                          deciphering which data
   cancers                                               items are required for
                                                         the audit and what
                                                         are the different result
                                                         codes?

12 Disclosure of   Patnick, J.    2006    NHS Cancer     Guidance on advise           Considers                Advice is provided in
   audit results                          Screening      on the best practice for     psychological aspects,   how to consider these
   in cancer                              Programmes     passing on information       what information         facets.
   screening:                                            about the results of         patients want, HCP
   Advice on                                             audit of an individual       stress mitigation,
   best practice                                         case to the individual       informing patients
                                                         concerned and how to         about audit and
                                                         deal with any related        communication of
                                                         medico-legal aspects.        results. Medico-legal
                                                         Developed by a               aspects include
                                                         multidisciplinary group      consent, access to
                                                                                      records, complaints
                                                                                      and causation.

13 Protocol        NHS Cervical 2012      NHS Cancer     This document outlines                                The recommendations
   changes for     Screening              Screening      changes to the audit                                  represent minimum
   2012-13audit    Programme              Programmes     protocol described in                                 standards, and
   of invasive                                           NHS Cervical Screening                                attempts to exceed
   cervical                                              Programme. The aim is                                 the guidance where
   cancers:                                              to improve the audit by                               this is felt to be
                                                         linking it more closely to                            locally valuable are
                                                         training, by streamlining                             encouraged.
                                                         and standardising
                                                         procedures to ensure
                                                         consistency across
                                                         all Quality Assurance
                                                         Reference Centres, and
                                                         by providing clearer
                                                         and tighter guidance to
                                                         remove ambiguities.




                                                             74
                                  Expert Reference Group Interval Cancer Report CervicalCheck




                                                                                                                                 Ex. A-10
    Title           Authors        Year    Screening      Study Design                Results / Main findings Conclusion
                                           setting

14 Audit of         NHS Cervical 2006      NHS Cancer     Developed by a                                         Outlines audit sequence
   invasive         Screening              Screening      multidisciplinary                                      from national to local
   cervical         Programme              Programmes     group. The aim of this                                 level. Detail includes
   cancers                                                publication is to define                               arrangements for audit,
   NHSCSP                                                 a national protocol                                    review processes
                                                          for audit of cases                                     (cytology/ colposcopy/
                                                          of invasive cervical                                   histology/ regional
                                                          cancer in order that                                   panels/reporting
                                                          standardised data can                                  findings/ treatment
                                                          be pooled and analysed                                 audit/evaluation and
                                                          meaningfully.                                          epidemiology)

15 Standard         Cervical       2013    Wales          SOPP on cervical                                       Description of
   Operating        Screening                             screening audit specific                               CSW responsibility,
   Policy &         Wales (CSW)                           to Wales                                               laboratory services,
   Procedure                                                                                                     colposcopy review
   (SOPP):                                                                                                       process, audit process,
   Quality                                                                                                       disclosure.
   Standards –
   Audit

16 Policy for       NHS Derby      2015    Derby,         Local policy for clinical                              Management of the
   clinical audit   Teaching               England        audit of new cases of                                  Audit of New Cases
   of new cases     Hospitals                             invasive cervical cancer                               of Invasive Cervical
   of invasive                                            and disclosure of results                              Cancer, Reporting
   cervical                                                                                                      Audit Findings, Audit
   cancer and                                                                                                    & Disclosure Pathway,
   disclosure of                                                                                                 Disclosure of results,
   results                                                                                                       Monitoring compliance
                                                                                                                 and effectiveness

17 Presentation:    Cervical      2018     Wales          Presentation on CSW         Notes: Cytology may       Describes entire
   Cervical         Screening                             Audit Process: Cancers      be used for education     process including
   Screening        Wales (CSW),                          diagnosed on or after       if felt to be of benefit. disclosure.
   Wales Audit      NHS Wales,                            1st April 2009, based       Colposcopy, CL writes
   of Cervical      Public Health                         on NHSCSP Publication       to lead colposcopist if
   Cancer           Wales                                 28 ‘Audit of Invasive       there are any lessons to
   Process                                                Cervical Cancer’            be learned Admin may
                                                          inclusive of women          be recorded as incident
                                                          resident in Wales at
                                                          time of diagnosis are
                                                          reviewed by clinical
                                                          lead on; type of
                                                          cervical cancer, stage,
                                                          treatment, and screen
                                                          detected.

18 Disclosing     Sherman,         2015    England        An online survey            122 leads responded.       Not all clinicians offer
   the results of S.M. et al                              was sent to lead            53% of respondents         review meetings to
   the invasive                                           colposcopists (n=178)       offered review             patients and those who
   cervical                                               across England asking       meetings. Patients were    do offer them do not
   cancer review                                          whether they offered        predominantly invited to   always offer them to all
   to patients: a                                         the review to patients,     the review meeting face    women. Research to be
   survey of lead                                         if they did how they        to face and clinicians’    conducted on patient
   colposcopists                                          did so and what their       experiences were           needs. Need to engage
   across                                                 experience was and if       mixed: positive and        clinicians more.
   England                                                they did not, why not.      negative. Those not
                                                                                      offering a meeting (47%;
                                                                                      n=57) there were a
                                                                                      variety of reasons: 25%
                                                                                      - lack of awareness of
                                                                                      the guidelines, 19%
                                                                                      - time constraints,
                                                                                      12% a fear of causing
                                                                                      additional distress and
                                                                                      2% a fear of litigation.




                                                              75
                                  Expert Reference Group Interval Cancer Report CervicalCheck




                                                                                                                                  Ex. A-10
   Title           Authors         Year    Screening      Study Design                 Results / Main findings Conclusion
                                           setting

19 Guidance        West            2007    West           Regional guidance                                      Defines a screening
   for the         Midlands                Midlands,      adapted from the NHS                                   history review, purpose
   Disclosure of   Cancer                  England        Cervical Screening                                     of audit, disclosure and
   Audit Results   Intelligence                           Programme ‘Disclosure                                  patient leaflet included.
   in Cancer       Unit                                   of audit results in cancer
   Screening                                              screening (2006)’ as well
                                                          as existing local policies
                                                          and good practice.

20 Regulation      Care Quality    2015    NHS England    The introduction of          Actions to meet the       Section 8 of Reg 20.
   20: Duty of     Commission                             Regulation 20 is a           requirements of           “notifiable safety
   candour                                                direct response to           Regulation 20 outlined    incident” means
                                                          recommendation               once awareness of         any unintended or
                                                          181 of the Francis           a notifiable safety       unexpected incident
                                                          Inquiry report into Mid      incident.                 that occurred in respect
                                                          Staffordshire NHS                                      of a service user
                                                          Foundation Trust 1,                                    during the provision
                                                          which recommended                                      of a regulated activity
                                                          that a statutory duty of                               that, in the reasonable
                                                          candour be introduced                                  opinion of a health care
                                                          for health and care                                    professional, could
                                                          providers.                                             result in, or appears to
                                                                                                                 have resulted in—
                                                                                                                 (a) the death of the
                                                                                                                 service user, where the
                                                                                                                 death relates directly to
                                                                                                                 the incident rather than
                                                                                                                 to the natural course
                                                                                                                 of the service user’s
                                                                                                                 illness or underlying
                                                                                                                 condition, or
                                                                                                                 (b) severe harm,
                                                                                                                 moderate harm
                                                                                                                 or prolonged
                                                                                                                 psychological harm to
                                                                                                                 the service user.

21 Editorial:    Herbert, A.       2013    England        An editorial reviewing       Discussion on poor        Formal reports to be
   Disclosure                                             guidance and practices       compliance combined       available and meetings
   of cervical                                            – a discussion of an         with cytological under-   with the patient to take
   cancer                                                 NHS cervical screening       call, interval cancers    place after treatment
   audits: how                                            programme and                in young women,           is completed,1 a
   to be honest                                           European guidelines.         discrepancies in review   preliminary report at
   without                                                Personal views               diagnoses of equivocal    the time of the MDT
   making                                                 considered.                  cytological changes,      meeting enables
   matters worse                                                                       cancers arising after     clinicians to be aware
                                                                                       treatment of high-grade   of potential problems
                                                                                       CIN, accuracy of HPV      that patients or their
                                                                                       tests.                    relatives may ask
                                                                                                                 about. This way the
                                                                                                                 negative emotions
                                                                                                                 can more easily be
                                                                                                                 replaced by the ‘trust
                                                                                                                 and reassurance’ to be
                                                                                                                 gained by full disclosure
                                                                                                                 of the events that led
                                                                                                                 to the development of
                                                                                                                 cancer.




                                                              76
                              Expert Reference Group Interval Cancer Report CervicalCheck




                                                                                                                              Ex. A-10
   Title           Authors      Year    Screening     Study Design               Results / Main findings Conclusion
                                        setting

22 Routine Audit Cuzick, J.     2008    England       An editorial reviewing     Discusses three broad         This audit process
   of Large-                                          guidance and practices     groups of screening           allows evaluation
   Scale Cervical                                     – a discussion of an       failures can be               of routine service
   Cancer                                             article by Andrae et al.   identified:                   screening, as opposed
   Screening                                                                                                   to extrapolation from
                                                                                 1) women who were
   Programs                                                                                                    clinical trials, and
                                                                                 not screened within the
                                                                                                               should be widely
                                                                                 recommended interval;
                                                                                                               emulated for all types
                                                                                  2) women who were            of mass screening
                                                                                 screened and found to         programs and not only
                                                                                 have an abnormality,          restricted to cervical
                                                                                 but who subsequently          screening.
                                                                                 developed cancer;
                                                                                 3) women who
                                                                                 were adequately
                                                                                 screened within the
                                                                                 recommended interval
                                                                                 with apparently
                                                                                 normal results, but
                                                                                 who subsequently
                                                                                 developed cancer.

23 Guidance        NHS           2016   England       Guidance on the Duty       Notes the importance          <<There are
   on applying     Screening                          of Candour and its         of screening for              circumstances when
   Duty of         Programmes,                        application across         improvement of                a person who has
   Candour and     Public Health                      the 11 NHS screening       population health whilst      been screened may
   disclosing      England                            programmes                 acknowledging the             experience severe or
   audit results                                                                 limitations of screening:     moderate harm. This
                                                                                 <<                            may be because: • the
                                                                                                               condition screened for
                                                                                 Screening tests:
                                                                                                               has not been detected
                                                                                 • cannot offer 100%           and it is not treated
                                                                                 sensitivity (ability of the   early enough to improve
                                                                                 test to correctly identify    the outcome for the
                                                                                 all true positives – those    patient – examples
                                                                                 with the condition or         can include breast
                                                                                 disease)                      cancer, fetal anomaly
                                                                                                               and abdominal
                                                                                 • cannot offer 100%           aortic aneurysm •
                                                                                 specificity (ability of the   the person with or
                                                                                 test to correctly identify    without the target
                                                                                 all true negatives –          condition is harmed
                                                                                 those without the             by the procedure for
                                                                                 condition or disease).        detecting the condition
                                                                                 <<Both false positive         – examples include
                                                                                 and false negative            loss of a fetus due to
                                                                                 results can result in         amniocentesis and
                                                                                 harm to an individual.        death from bowel
                                                                                 However, these are not        rupture following
                                                                                 unexpected findings           colonoscopy •
                                                                                 and are a feature of all      they experience
                                                                                 screening programmes.         psychological harm
                                                                                                               from being told they
                                                                                 Screening programmes          are screen positive
                                                                                 should operate within         (or screen negative)
                                                                                 agreed parameters             and then finding out
                                                                                 so they offer more            that their true result
                                                                                 benefit than harm to the      is different. These are
                                                                                 screened population,          recognised harms of a
                                                                                 at a reasonable cost to       screening programme
                                                                                 the NHS.                      and are therefore
                                                                                                               not ‘unexpected’ if
                                                                                                               the programme is
                                                                                                               operating within agreed
                                                                                                               standards.




                                                          77
                  Expert Reference Group Interval Cancer Report CervicalCheck




                                                                                                              Ex. A-10
Title   Authors    Year    Screening      Study Design             Results / Main findings Conclusion
                           setting

                                                                   Because of the            Therefore, when
                                                                   nature of screening       these events occur
                                                                   programmes,               they should not be
                                                                   sometimes it can be       automatically treated
                                                                   hard for screening        as notifiable safety
                                                                   services to know how      incidents. >> Pg. 7
                                                                   to distinguish between
                                                                                             <<Where an error
                                                                   a false negative/
                                                                                             may have occurred in
                                                                   false positive that has
                                                                                             the screening test or
                                                                   occurred because
                                                                                             diagnostic part of the
                                                                   of the limitations of
                                                                                             screening pathway,
                                                                   screening and a false
                                                                                             the review should
                                                                   negative/false positive
                                                                                             explicitly consider and
                                                                   that has occurred
                                                                                             document: • was the
                                                                   because something has
                                                                                             process for undertaking
                                                                   gone wrong.
                                                                                             the screen or diagnosis
                                                                                             correctly carried out
                                                                                             according to NHS
                                                                                             screening guidance?
                                                                                             • is the programme
                                                                                             operating to national
                                                                                             standards and the
                                                                                             national specification?
                                                                                             If the answer to either of
                                                                                             these questions is no,
                                                                                             then the audit review
                                                                                             should: • document that
                                                                                             there has been a failure
                                                                                             in screening process
                                                                                             (handle in accordance
                                                                                             with ‘Managing safety
                                                                                             incidents in NHS
                                                                                             screening programmes’
                                                                                             (PHE 2015) iii and
                                                                                             ‘The serious incident
                                                                                             framework’ (NHS
                                                                                             England 2015) iv
                                                                                             • specifically consider
                                                                                             whether the failure
                                                                                             to follow process
                                                                                             has (or could have
                                                                                             in the reasonable
                                                                                             opinion of a health
                                                                                             care professional)
                                                                                             contributed to the
                                                                                             person being seriously
                                                                                             or moderately
                                                                                             harmed.>> Pg. 9




                                              78
                                    Expert Reference Group Interval Cancer Report CervicalCheck




                                                                                                                                 Ex. A-10
    Title           Authors          Year    Screening      Study Design               Results / Main findings Conclusion
                                             setting

24 Implementing     Moss E.L.        2010    England        Analysis of data from      87 women were              The categorisation of
   the national     et al                                   invasive cervical cancer   diagnosed with cervical    cervical cancer cases
   invasive                                                 reviews.                   cancer during the          has the potential of
   cervical                                                                            3-year study period.       yielding invaluable
   cancer                                                                              The ‘lapsed attender’      information for
   audit: a local                                                                      group accounted for        improving programme
   perspective                                                                         the greatest number of     effectiveness. Patient
                                                                                       cases (30%), followed      compliance is the
                                                                                       by screen detected         greatest challenge
                                                                                       (26%), interval cancers    to the screening
                                                                                       (13%), never attended      programme, and
                                                                                       (12%), lost to follow-up   the need for regular
                                                                                       (10%) and never invited    screening and
                                                                                       (9%). Women who had        adherence to follow-up
                                                                                       never attended for         regimens needs to be
                                                                                       cytology presented with    reinforced in order to
                                                                                       higher stage disease,      maximise the efficacy of
                                                                                       stage-II or above,         the national screening
                                                                                       compared with the          programme.
                                                                                       screen-detected cases:
                                                                                       60% were stage II or
                                                                                       above.

25 NHSCSP           Sasieni, P. &    2014    NHS England    Report focuses on          Almost half (47%) of all   Concordance between
   Audit of         Castanon, A.                            8,784 women who had        the cases diagnosed in     original result and
   Invasive                                                 a confirmed diagnosis      women aged 25-49 are       review result was
   Cervical                                                 of cervical cancer         microinvasive cancers      59% for cytology and
   Cancer:                                                  between April 2009 and     (stage 1A). 36% are        90.2% for histological
   National                                                 March 2013. They are       stage 1B. However, in      samples.
   Report 2009-                                             compared to 17,270         women aged 50 to 64,
   2013                                                     women without cervical     49% of cancers are
                                                            cancer.                    stage 2 or worse.
                                                                                       Over 76% of stage 1A1
                                                                                       cancers were treated
                                                                                       conservatively (by cone
                                                                                       biopsy, loop excision
                                                                                       or trachelectomy).
                                                                                       In comparison, only
                                                                                       48% of stage 1A2
                                                                                       cases were treated
                                                                                       conservatively.




                                                                79
                                  Expert Reference Group Interval Cancer Report CervicalCheck




                                                                                                                               Ex. A-10
   Title          Authors          Year     Screening     Study Design             Results / Main findings Conclusion
                                            setting

26 NHSCSP         Sasieni, P. &    2012     NHS England   The NHS CSP audit        There was an increase      Of all the negative tests
   Audit of       Castanon, A.                            comprises 8,566          in the number of           that were reviewed, only
   invasive                                               women with confirmed     cervical cancers           51% remained negative
   cervical                                               diagnoses of cervical    diagnosed in women         when investigated for
   cancer                                                 cancer (an estimated     under the age of 65 in     a second time. 43%
   National                                               90% of all cervical      2008/09, due to the        of the borderline tests
   report 2007-                                           cancers in England),     so‐called ‘Jade Goody      remained borderline,
   2011 Cancer                                            who are compared to      effect’ (this increase     and 41% of those
                                                          25,722 controls.         continued for several      showing low‐grade
                                                                                   months after the reality   dyskaryosis were
                                                                                   star’s death). Most of     confirmed as such.
                                                                                   the excess cases were
                                                                                   FIGO stage 1A.
                                                                                   There was a shift
                                                                                   towards earlier stage
                                                                                   cancers in 2009–10.
                                                                                   The numbers of
                                                                                   advanced cancers
                                                                                   (FIGO stage 2+) in
                                                                                   the audit decreased
                                                                                   by 10%, from 378
                                                                                   in 2007/08 to 344 in
                                                                                   2009/10.
                                                                                   Data for the period
                                                                                   September 2009‐
                                                                                   August 2010 showed
                                                                                   a 22% reduction
                                                                                   in cervical cancer
                                                                                   incidence in women
                                                                                   aged 65 and over,
                                                                                   compared to data
                                                                                   from September 2007‐
                                                                                   August 2008.

27 NHS Cervical   NHSCSP,          2016     NHS England   Review of guidance on    Findings of previous    Since its introduction,
   Screening      Luesley, D.                             management of women      audits used to          the screening
   Programme                                              in the NHS Cervical      substantiate standards. programme has helped
   Colposcopy                                             Screening Programme                              half the number of
   and                                                                                                     cervical cancer cases,
   Programme                                                                                               and is estimated to
   Management                                                                                              save approximately
                                                                                                           4,500 lives per year
                                                                                                           in England. In 2014 to
                                                                                                           2015 approximately 3.1
                                                                                                           million women were
                                                                                                           screened in England.

28 Presentation: Herbert, A        Year     Guy’s & St    Presentation considers   • 10% of women in          Considers aim of
   How invasive                    not      Thomas’       national guidance          England have no          screening: 100%
   cervical                        avail-   Foundation    against European,          cytology test recorded   coverage. This therefore
   cancer audit                    able     NHS Trust,    comparing data             on the central           means that if every
   affects clinical                         England       between Guy’s &            computer                 woman has been
   practice                                               St Thomas’ and                                      screened all cancers
                                                                                   • Many of these (in
                                                          Southampton.                                        will be ‘interval cancers’
                                                                                     London at least)
                                                                                                              .
                                                                                     have been previously
                                                                                     screened outside the
                                                                                     UK
                                                                                   • Some are too young
                                                                                     to have been offered
                                                                                     screening within 3
                                                                                     years (<25) others too
                                                                                     old (70+)
                                                                                   Looks at case histories.




                                                              80
                                   Expert Reference Group Interval Cancer Report CervicalCheck




                                                                                                                                  Ex. A-10
    Title           Authors         Year    Screening      Study Design               Results / Main findings Conclusion
                                            setting

29 Public health    Cancer          2013    NHS England    Guidance advising on       Functions of particular
   functions to     Screening,                             the best practice for      aspects of screening
   be exercised     Early                                  passing on information     outlined
   by NHS           Diagnosis                              about the results of
   England          and Skin                               audit of an individual
   Service          Cancer                                 case to the individual
   specification    Prevention                             concerned and how to
   No.25            Team                                   deal with any related
   Cervical         Department                             medico-legal aspects.
   Screening        of Health

30 Review of        Castanon, A.    2011    England        Cervical cytology          Of 13 745 cytology         In spite of the excellent
   cytology and     et al                                  and histology slides       results from women         quality of cytology
   histopathol-                                            taken within 10 years      developing cervical        in England, a high
   ogy as part                                             of diagnosis were          cancer, 55% were           proportion of negative
   of the NHS                                              identified and where       reviewed. The review       cytology taken up to
   Cervical                                                possible reviewed after    result was identical       three and a half years
   Screening                                               a nationally agreed        for 55% of slides. Of      before diagnosis were
   Programme                                               protocol of 6113 women     3759 originally normal     considered to contain
   audit of inva-                                          diagnosed with cervical    slides, only 45% were      abnormal cells by
   sive cervical                                           cancer between 2007        normal on review: 11%      reviewers informed
   cancers                                                 and 10. Reviewers          were inadequate, 21%       of the subsequent
                                                           were not blinded to the    low grade (borderline      cancer. Continuing
                                                           original reading of each   or mild dyskaryosis)       these reviews, with
                                                           sample.                    and 23% high grade         a strong focus on
                                                                                      (moderate dyskaryosis      education, will ensure
                                                                                      or worse).                 a clear understanding
                                                                                                                 of these slides and
                                                                                                                 further reduce the risk
                                                                                                                 of developing cervical
                                                                                                                 cancer.

31 Review of        Prabakar, I.    2012    England        Following a review of      Sixty of the 61 women      A policy of selective
   invasive         et al                                  98 invasive cervical       in Group A were sent       invitation for the
   cervical                                                cancer diagnoses           an invitation to discuss   disclosure of invasive
   cancers and                                             between 2003 and 2007,     the results of their       review results is
   uptake of                                               women were classified      case Review - 24 (40%)     feasible.
   disclosure                                              into two categories: a)    chose to attend.
                                                                                                                 Less than one-half of
   of results:                                             (n=61) who developed
                                                                                      Thirty-six (37%) were      patients diagnosed
   an audit of                                             invasive cancer despite
                                                                                      classified as Group        with cervical cancer
   procedures                                              adherence to the
                                                                                      B, and it was deemed       appear to want to know
   and response                                            screening programme/
                                                                                      neither appropriate nor    how they developed
                                                           management or
                                                                                      possible to invite the     cervical cancer despite
                                                           diagnostic decision
                                                                                      patients for a review      previously participating
                                                           was determined to have
                                                                                      consultation.              in a screening
                                                           been a principal factor
                                                                                                                 programme.
                                                           in the development of
                                                           their disease, b) (n=36)
                                                           a group who either
                                                           had never undergone
                                                           a cervical smear or
                                                           had been established
                                                           defaulters from the
                                                           screening programme.




                                                               81
                                 Expert Reference Group Interval Cancer Report CervicalCheck




                                                                                                                                Ex. A-10
   Title           Authors        Year    Screening      Study Design                Results / Main findings Conclusion
                                          setting

32 The NHS         Moss, E.L.     2011    England        A review of NHS             Audit: necessary for      Incorporating case
   cervical        et al                                 cervical screening          quality and learning.     review into the
   screening                                             policies against existing                             national audit with the
                                                                                     Disclosure: two findings
   programme                                             evidence examining the                                publication of a triennial
                                                                                     are of particular
   audit of                                              rationale for auditing                                report, although time
                                                                                     relevance: first, women
   invasive                                              and disclosure.                                       consuming, would
                                                                                     who had had adverse
   cervical                                                                                                    help to maintain
                                                         No clear methodology        events disclosed to
   cancers: who                                                                                                confidentiality because
                                                         noted.                      them were twice as
   benefits?                                                                                                   of the large number of
                                                                                     likely to rank their care
                                                                                                               cases and could enable
                                                                                     as good or excellent
                                                                                                               lessons to be learnt,
                                                                                     compared with those
                                                                                                               thereby demonstrating
                                                                                     who had not had events
                                                                                                               that the NHSCSP
                                                                                     disclosed to them;
                                                                                                               is doing everything
                                                                                     second, lower quality
                                                                                                               possible to reduce the
                                                                                     ratings were associated
                                                                                                               number of preventable
                                                                                     with events that still
                                                                                                               cervical cancers.
                                                                                     adversely affected the
                                                                                     woman at the time of      Closing note: a more
                                                                                     the survey.               fundamental question
                                                                                                               remains unanswered;
                                                                                                               is universal unsolicited
                                                                                                               disclosure beneficial
                                                                                                               or detrimental to the
                                                                                                               wellbeing of the women
                                                                                                               concerned?

33 Invasive        Herbert, A.    2010    England        Observational study         133 invasive cancers,       While often potentially
   cervical        et al                                 of CIN2+ (CGIN,             53 CGIN, 1502 CIN3          avoidable, cancers in
   cancer audit:                                         CIN3 and CIN2) and          and 1472 CIN2. Screen-      previously screened
   why cancers                                           invasive cervical cancer    detected cancers in         women tended to be
   developed in                                          diagnosed at Guy’s          asymptomatic women          early stage, detected by
   a high-risk                                           and St Thomas’ NHS          comprised 48.9% of          cytology and rare when
   population                                            Foundation Trust in         cancers and were            compared with high-
   with an                                               1999–01, 2002–04            successively more           grade CIN.
   organised                                             and 2005–07 . Audit of      likely to be in younger
   screening                                             screening histories of      age groups (P = 0.03);
   programme                                             women with invasive         all except one were
                                                         cancer analysed             stage IA or IB1. Screen-
                                                         according to route to       detected IA cancers
                                                         diagnosis, histological     were more likely (P <
                                                         type and International      0.001) to be in women
                                                         Federation of Obstetrics    screened within 0.5–5.0
                                                         and Gynecology (FIGO)       years (80.5%) than
                                                         stage.                      screen detected fully
                                                                                     invasive (58.3%) or
                                                                                     symptomatic cancers
                                                                                     (35.3%). Seventy-one
                                                                                     (53.4%) women had
                                                                                     been screened within
                                                                                     0.5– 5.0 years; 11 had
                                                                                     negative cytology
                                                                                     within 0.5–3.5 years
                                                                                     and two tests within
                                                                                     10 years. The other
                                                                                     60 had negative tests
                                                                                     less frequently or had
                                                                                     previous abnormal
                                                                                     cytology, colposcopy
                                                                                     or treatment. Potentially
                                                                                     avoidable factors
                                                                                     were often multiple,
                                                                                     including false-negative
                                                                                     cytology, high-grade
                                                                                     cytology reported as
                                                                                     low-grade and lapses in
                                                                                     attendance either




                                                             82
                                Expert Reference Group Interval Cancer Report CervicalCheck




                                                                                                                       Ex. A-10


Appendix 5a
Letter to Expert Reference Group post RCOG




                                                                                Office of the Chief Clinical Officer
                                                                                             Dr Steevens’ Hospital
                                                                                       Steevens’ Lane, D08 W2A8
                                                                                                 email: cco@hse.ie
           Feidhmeannacht na Seirbhise Sláinte
                Health Service Executive                                                     Oifig an Príohoifigeach
                                                                                    Cliniciúil Eatromhach Ospidéal
                                                                       Dr. Steeven, Baile Átha Cliath 8, D08 W2A8




                                                                                                  By Email Only
         11th December 2019
         Prof. Susan O’Reilly


         RE: Interval Cancer Audit & Review - BreastCheck Expert Reference Group


         Dear Susan,


         The aggregate report of the Independent Clinical Expert Panel Review of Cervical Check,
         completed by the Royal College of Obstetrics & Gynaecology was published on the 3rd December
         2019. The report makes ten recommendations overall and recommendation four; five and six
         specifically refer to clinical audit of cancers in the screening programme.
         The Minister is requesting that the Expert Reference Group for Bowel and Cervical Screening
         would consider these recommendations in relation to international best practice and the
         functioning of the screening programme.
         I wish to acknowledge the significant work, which has been completed to date by the Expert
         Reference Group and welcome your feedback regarding these recommendation before the end of
         January 2020.




         Dr Colm Henry                                                   Damien McCallion
                                                                         HSE National Director
         Chief Clinical Officer                                          Emergency Management &
                                                                         Director General CAWT




                                                            83
                            Expert Reference Group Interval Cancer Report CervicalCheck




                                                                                                            Ex. A-10


Appendix 5b
Response from Expert
Reference Group post RCOG
The Royal College of Obstetricians and Gynaecologists (UK) Independent Expert Panel published their
review on Cervical Screening in Cases of Cervical Cancer in Ireland between 2008-2018 on December 3rd,
2019. Their report made 10 recommendations.
The Minister of Health requested that the Expert Reference Group for Bowel and Cervical Screening
would consider recommendations 4, 5 and 6 in relation to international best practice and the functioning
of the screening programme. The Expert Reference Group thought it best to respond to all 10 of these
recommendations in the RCOG report.




Recommendation 1
The policy of reviewing cytology slides in the knowledge that women have subsequently developed cancer
should be viewed as a reliable and effective method of audit. This Review did not find evidence of bias and
provides reassurance about using this methodology in the future.

Expert Reference Group response:
The Expert Reference Group agrees with the statement that “the policy of reviewing cytology slides in the
knowledge that women have subsequently developed cancer should be viewed as a reliable and effective
method of audit”. Additionally, we believe that retrospective bias in reviewing cytology slides of patients
diagnosed with cancer will be minimised by blinding the review process. This means mixing cytology
slides of cancer patients with a proportion of cytology slides from women who have not been diagnosed
with cancer.




Recommendation 2
Large scale reviews in the future should require slides to be transported in a way that allows them to be
tracked, with adequate packaging protocols, and with back-up imaging, thus not placing irreplaceable
diagnostic material at risk. This can be recommended for future use.

Expert Reference Group response:
The CervicalCheck Programme will take into consideration the comments on packaging and transportation
of slides, should there be the necessity to do so. To minimise transportation requirements, the intent is to
arrange for slide reviews to be conducted within Ireland by external experts.




                                                        84
                            Expert Reference Group Interval Cancer Report CervicalCheck




                                                                                                             Ex. A-10
Recommendation 3
Efforts should continue to inform women of the limitations of cervical screening, while at the same
time reinforcing the message that the Irish National Screening Programme is in line with internationally
respectable programmes and is reducing cervical cancer incidence and deaths. HPV primary screening
and HPV vaccination will ensure cervical cancer becomes a rare disease in Ireland.

Expert Reference Group response:
The Expert Reference Group concurs with the recommendation to continue to inform women of the
limitations of screening and to reinforce the message that the Irish CervicalCheck Programme is
performing in line with internationally respected screening programmes.
We note that both web based information and patient consent forms have been continuously improved
to reflect the benefits and limitations of screening and will be further revised to ensure the proposed
approach to audit and access to individual reviews for women diagnosed with cancer is added subsequent
to implementation of the recommendations in our report.
Ireland’s relatively young national screening programme (commenced in 2008) is demonstrating the
expected improvements in incidence and mortality. The full impact will be even more evident over time.
The planned implementation of primary HPV screening in 2020 and HPV vaccination will further help
reduce incidence and mortality.




Recommendation 4
A policy of prior cytology slide review following every diagnosis of cancer is an important audit exercise
and should be an integral part of the programme. This should be conducted within a culture of candour
with full disclosure of audit findings.

Expert Reference Group response:
The policy of cytology review following every diagnosis of cancer is regarded as an important audit
exercise by the Expert Reference Group. This will be implemented subsequent to the start of primary
HPV screening nationally. Of note, slides will be anonymised and blinded to the external reviewers.
This educational review will be part of the quality assurance programme and will also form the basis of
seminars and reports to facilitate training of professional staff.
The Expert Reference Group has also recommended a new process of patient-requested reviews for those
diagnosed with invasive cervical cancer. If so, they will sign consent for this review to be undertaken. The
cytology review will be blinded but does not need to be anonymised.
The provision of individually requested reviews will include a candid discussion of the findings with each
patient.




                                                        85
                            Expert Reference Group Interval Cancer Report CervicalCheck




                                                                                                           Ex. A-10
Recommendation 5
Given the colposcopy findings, it is recommended that colposcopic management is included in the audit
protocol. Women should be offered the findings of this audit by the colposcopy consultant with adequate
time provided. This should be accorded the status of a ‘breaking bad news’ interview.

Expert Reference Group response:
The Expert Reference Group agrees that colposcopy management should be included. This will be
addressed as part of the patient-requested individual reviews. The colposcopy consultant would typically
be the professional discussing the review with the patient. Review of colposcopy is appropriate for
patients diagnosed with cancer more than 6 months after attendance.




Recommendation 6
These audits should be published in an aggregate form periodically e.g. every five years in order to
provide up to date information. Although it is expected that the conversion to primary HPV testing and
the protection afforded by vaccination will reduce the number of such cases, it will remain important to
understand whether or not opportunities to prevent cancer were missed.

Expert Reference Group response:
The Expert Reference Group agrees with the RCOG and recommends that the results of audits are
published regularly. RCOG suggests every 5 years, but optimistically, reports could be published more
often, once both programmatic cytology reviews and individually requested patient reviews are operating
effectively. We recognise the importance of staff education and training, thus seminars and teaching
sessions several times a year are a more intensive and timely means to enhance training.




Recommendation 7
There should be an emphasis on adhering to the CervicalCheck colposcopy practice guidelines that are
in place. There needs to be greater awareness of mismatches between cytology, colposcopy appearance
and biopsy results, with tighter adherence to multidisciplinary meetings for such cases. There needs to
be greater awareness of the positive predictive value of the different smear grades, with for example, the
appropriate weight of a high grade result being used to determine management. We found a number of
cases where the colposcopy management was insufficiently pro-active.

Expert Reference Group response:
The Expert Reference Group agrees with adherence to the CervicalCheck colposcopy practice guidelines.
It is recognised that the colposcopist must have a high level of awareness of “difficult to diagnose” occult
cancer in women with high grade smears. We note that the RCOG review commented on 27 cases out
of 106 women, who developed cancers over the several years being reviewed, where they thought the
colposcopic management was suboptimal. CervicalCheck gynaecologists and nurse colposcopists
conducted 19,500 new colposcopies per annum, thus the number of cases noted by RCOG is very small
and does not indicate serious problems with the Programme. Nevertheless, RCOG appropriately highlights
the need to continually address colposcopic performance in order to provide the best outcomes for all
patients.




                                                        86
                             Expert Reference Group Interval Cancer Report CervicalCheck




                                                                                                            Ex. A-10
Notably, the implementation of primary HPV screening in 2020 will increase demand for colposcopy
and make it even more vital that resources and staffing are delivered and that scrutiny of performance
is integral to the Programme and the host hospitals. CervicalCheck appointed, in December 2019, a
consultant gynaecologist as clinical lead for colposcopy services who will be responsible for quality
assurance and planning.
Multidisciplinary team meetings are an important element of good clinical practice and are to be
supported. There are logistical challenges in arranging timing for international laboratories that will need to
be overcome.




Recommendation 8
There should be tighter scheduling in colposcopy management. We identified cases where there were
delays in initial referral, between visits, and in scheduling treatment. It is recognised that some delays are
due to non-attendance, but cumulative delays appeared in some cases to lead to a missed opportunity to
prevent cancer.

Expert Reference Group response:
The Expert Reference Group agrees with Recommendation 8. The colposcopic management and
scheduling will be further integrated with the primary screening operations and subject to appropriate
monitoring.
The clinical lead for colposcopy will ensure that the work in recommendations 7 and 8 are coordinated and
delivered between the screening programme and the hospitals.




Recommendation 9
We recommend the creation of a dedicated database of cancer screening histories in cases where cancer
occurs. This could include HPV and cytology data as well as colposcopy and histology and dates of pre-
cancer and cancer diagnosis.

Expert Reference Group response:
The Expert Reference Group agrees with this recommendation. There is work ongoing in CervicalCheck
as part of primary HPV implementation to expand the existing screening KPIs and database to provide
comprehensive information.




Recommendation 10
The collective experience that will have been gained through the process of disclosure to women of the
findings of the RCOG Expert Panel, should be reviewed subsequently, and used to develop best practice
guidance for disclosure protocol going forward.

Expert Reference Group response:
The Expert Reference Group agrees with this recommendation. The National Women and Infants
Programme (Clinical Leader Dr Peter McKenna) are coordinating follow up letters to all women in the
RCOG review who chose to have a meeting with doctors to discuss their findings. This feedback will be a
key element in developing best practice re disclosure meetings.



                                                         87
Ex. A-10
Expert Reference Group Interval Cancer Report CervicalCheck




                                                              Ex. A-10
